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LeClairRyan

A Professional Corporation

One Riverfront Plaza

1037 Raymond Boulevard, 16" Floor

Newark, New Jersey 07102

(973) 491-3600

Attorneys for Plaintiff, Super 8 Worldwide, Inc., formerly known as Super 8 Motels, Inc.

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

SUPER 8 WORLDWIDE, INC., formerly
known as SUPER 8 MOTELS, INC., a South
Dakota Corporation, Civil Action No. 15-

Plainuff,
COMPLAINT

SOHAM INVESTMENTS LLC, an Arizona
limited liability company; PRAVIN C.
KOTHARI, an individual; and HITESH
CHOKSHI, an individual,

Defendants.

Plaintiff Super 8 Worldwide, Inc., formerly known as Super 8 Motels, Inc., by its
attorneys, LeClairRyan, complaining of defendants Soham Investments LLC, Pravin C. Kothari and

Hitesh Chokshi, says:

PARTIES, JURISDICTION AND VENUE
1. Plaintiff Super 8 Worldwide, Inc., formerly known as Super 8 Motels, Inc.
(“SWI”), is a corporation organized and existing under the laws of the State of South Dakota,

with its principal place of business in Parsippany, New Jersey.

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2. Defendant Soham Investments LLC” (“Soham Investments”), on information and
belief, is a limited liability company organized and existing under the laws of the State of

Arizona, with its principal place of business at 1722 Mitchell Avenue, #105, Tustin, California

92780.

3, Defendant Pravin C. Kothari ("Kothari"), on information and belief, is a member
of Soham Investments and a citizen of the State of California, residing at 1722 Mitchell Avenue,

#105, Tustin, California 92780.

4. Defendant Hitesh Chokshi ("Chokshi"), on information and belief, is a member of
Soham Investments and a citizen of the State of Michigan, residing at 11129 Scotscraig Court,

Las Vegas, Nevada 89141.

5. Upon information and belief, Kothari and Chokshi are the only constituent

members of Soham Investments.

6. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
1332 inasmuch as the plaintiff and all the defendants are citizens of different states and the

amount in controversy in this matter, exclusive of interest and costs, exceeds the sum of $75,000.

7. This Court has personal jurisdiction over Soham Investments by virtue of, among
other things, section 17.6.3 of the June 16, 2005 franchise agreement by and between SWI and
Soham Investments (the “Franchise Agreement”), described in more detail below, pursuant to
which Soham Investments has consented “to the non-exclusive personal jurisdiction of and
venue in the New Jersey state courts situated in Morris County, New Jersey and the United

States District Court for the District of New Jersey... .”
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8. This Court has personal jurisdiction over Kothari and Chokshi by virtue of,
among other things, the terms of a guaranty (the “Guaranty”), described in more detail below,
pursuant to which Kothari and Chokshi acknowledged that they were personally bound by

section 17 of the Franchise Agreement.

9. Venue is proper in this District pursuant to section 17.6.3 of the Franchise
Agreement, inasmuch as that provision contains an express waiver by Soham Investments of any
objection to venue in this District.

ALLEGATIONS COMMON TO ALL COUNTS

The Agreements Between The Parties

10. On or about May 26, 2005', SWI entered into the Franchise Agreement with
Soham Investments for the operation of a 46-room Super 8® guest lodging facility located at
1916 West 3 Street, Winslow, Arizona 86047, designated as Super 8® Site No. 03118-80713-

04 (the “Facility”). A true copy of the Franchise Agreement is attached hereto as Exhibit A.

11. Pursuant to section 5 of the Franchise Agreement, Soham Investments was

obligated to operate a Super 8® guest lodging facility for a twenty-year term.

12. Pursuant to section 7 and Schedule C of the Franchise Agreement, Soham
Investments was required to make certain periodic payments to SWI for royalties, system
assessments, taxes, interest, reservation system user fees and other fees (collectively, “Recurring

Fees”).

' By Amendment dated January 17, 2006, a copy of which is attached hereto as Exhibit B, the parties amended the
Franchise Agreement to reflect that the date of execution for the Franchise Agreement was June 16, 2005.

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13. Pursuant to section 7.3 of the Franchise Agreement, Soham Investments agreed
that interest is payable “on any past due amount payable to [SWI] under this [Franchise]
Agreement at the rate of 1.5% per month or the maximum rate permitted by applicable law,

whichever is less, accruing from the due date until the amount is paid.”

14, Pursuant to section 3.8 of the Franchise Agreement, Soham Investments was
required to report the amount of gross room revenue earned by Soham Investments at the Facility

for purposes of establishing the amount of royalties and other Recurring Fees due to SWI.

15. Pursuant to section 3.8 of the Franchise Agreement, Soham Investments agreed to
maintain at the Facility accurate financial information, including books, records, and accounts,
relating to the gross room revenue of the Facility and, pursuant to sections 3.8 and 4.8 of the
Franchise Agreement, Soham Investments agreed to allow SWI to examine, audit, and make

copies of the entries in these books, records, and accounts.

16. Pursuant to section 11.2 of the Franchise Agreement, SWI could terminate the
Franchise Agreement, with notice to Soham Investments, if Soham Investments (a) discontinued
operating the Facility as a Super 8® guest lodging establishment and/or (b) lost possession or the

right to possession of the Facility.

17. Pursuant to section 12.1 of the Franchise Agreement, Soham Investments agreed
that, in the event of a termination of the Franchise Agreement pursuant to section 11.2, it would

pay liquidated damages to SWI in accordance with a formula specified in the Franchise

Agreement.
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18. Pursuant to section 17.4 of the Franchise Agreement, Soham Investments agreed
that the non-prevailing party would “pay all costs and expenses, including reasonable attorneys’
fees, incurred by the prevailing party to enforce this [Franchise] Agreement or collect amounts

owed under this [Franchise] Agreement.”

19. Effective as of the date of the Franchise Agreement, Kothari and Chokshi
provided SWI with a Guaranty of Soham Investments’ obligations under the Franchise

Agreement. A true copy of the Guaranty is attached hereto as Exhibit C.

20. Pursuant to the terms of the Guaranty, Kothari and Chokshi agreed, among other
things, that upon a default under the Franchise Agreement, they would “immediately make each
payment and perform or cause [Soham Investments] to perform, each unpaid or unperformed

obligation of [Soham Investments] under the [Franchise] Agreement.”

21. Pursuant to the terms of the Guaranty, Kothari and Chokshi agreed to pay the
costs, including reasonable attorneys’ fees, incurred by SWI in enforcing its rights or remedies

under the Guaranty or the Franchise Agreement.

The Termination of the Franchise Agreement

22. On or about January 19, 2012, Soham Investments unilaterally terminated the
Franchise Agreement by transferring the Facility to a third party, thereby terminating the

Franchise Agreement.

23. By letter dated May 3, 2012, a true copy of which is attached as Exhibit D, SWI
acknowledged Soham Investments’ unilateral termination of the Franchise Agreement effective

January 19, 2012, and advised Soham Investments that it was required to pay to SWI as
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liquidated damages for premature termination the sum of $92,000.00, as required under the

Franchise Agreement, and all outstanding Recurring Fees through the date of termination.

FIRST COUNT

24. SWI repeats and makes a part hereof each and every allegation contained in

paragraphs | through 23 of the Complaint.

25. Pursuant to sections 3.8 and 4.8 of the Franchise Agreement, Soham Investments
agreed to allow SWI to examine, audit, and make copies of Soham Investments’ financial
information, including books, records, and accounts, relating to the gross room revenue earned at

the Facility.

26. The calculation of the monetary amounts sought by SWI in this action is based
on the gross room revenue information supplied to SWI by Soham Investments and, to the extent
there has been non-reporting, SWI’s estimate as to the gross room revenue earned by Soham

Investments.

27. The accuracy of this estimate cannot be ascertained without an accounting of the
receipts and disbursements, profit and loss statements, and other financial materials, statements

and books from Soham Investments.

WHEREFORE, SWI demands judgment ordering that Soham Investments
account to SWI for any and all revenue derived as a result of marketing, promoting, or selling

guest lodging services at the Facility from the inception through the date of termination of the

Franchise Agreement.
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SECOND COUNT

28. SWI repeats and makes a part hereof each and every allegation contained in

paragraphs | through 27 of the Complaint.

29, On or about January 19, 2012, Soham Investments unilaterally terminated the

Franchise Agreement by ceasing to operate the Facility as a Super 8® guest lodging facility.

30. By letter dated May 3, 2012, SWI acknowledged Soham Investments’ unilateral

termination of the Franchise Agreement effective January 19, 2012.

31. Section 12.1 provides that, in the event of termination of the Franchise Agreement
due to action of the Franchisee, Soham Investments shall pay liquidated damages to SWI within

30 days of termination.

32. Section 12.1 of the Franchise Agreement set liquidated damages for the Facility at
$2,000 multiplied by the number of guest rooms Soham Investments was authorized to operate at
the Facility at the time of termination. At the time of termination, Soham Investments was
authorized to operate 46 guest rooms at the Facility. Accordingly, the amount of liquidated

damages due and owing from Soham Investments is $92,000.00.

33. As a result of the termination of the Franchise Agreement, Soham Investments is
obligated to pay SWI liquidated damages in the amount of $92,000.00, as calculated pursuant to

Section 12.1.

34. Notwithstanding SWI’s demand for payment, Soham Investments has failed to

pay SWI the liquidated damages as required in Section 12.of the Franchise Agreement.
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35. SWI has been damaged by Soham Investments’ failure to pay liquidated damages.

WHEREFORE, SWI demands judgment against Soham Investments for liquidated

damages in the amount of $92,000.00, together with interest, attorneys' fees, and costs of suit.

THIRD COUNT

36. SWI repeats and makes a part hereof each and every allegation contained in

paragraphs | through 35 of the Complaint.

37. By virtue of the premature termination of the Franchise Agreement, SWI
sustained a loss of future revenue over the remainder of the twenty-year term of the Franchise

Agreement.

38. If the Court determines that Soham Investments is not liable to pay SWI
liquidated damages as required by Section 12.1 of the Franchise Agreement, in the alternative,
Soham Investments is liable to SWI for actual damages for the premature termination of the

Franchise Agreement.

39, SWI has been damaged by Soham Investments’ breach of its obligation to operate

a Super 8® guest lodging facility for the remaining term of the Franchise Agreement.

WHEREFORE, SWI demands judgment against Soham Investments for actual
damages in an amount to be determined at trial, together with interest, attorneys’ fees, and costs of

suit.
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FOURTH COUNT

40. SWI repeats and makes a part hereof each and every allegation contained in

paragraphs | through 39 of the Complaint.

4], Pursuant to section 7 and Schedule C of the Franchise Agreement, Soham

Investments was obligated to remit Recurring Fees to SWI.

42. Despite its obligation to do so, Soham Investments failed to remit certain of the
Recurring Fees due and owing under the Franchise Agreement, in the current amount of

$76,857.06.

43. Soham Investments’ failure to remit the agreed Recurring Fees constitutes a

breach of the Franchise Agreement and has damaged SWI.

WHEREFORE, SWI demands judgment against Soham Investments for the
Recurring Fees due and owing under the Franchise Agreement, in the current amount of

$76,857.06, together with interest, attorneys’ fees, and costs of suit.

FIFTH COUNT

44, SWI repeats and makes a part hereof each and every allegation contained in

paragraphs | through 43 of the Complaint.

45, At the time of the termination of the Franchise Agreement, Soham Investments

was obligated to pay SWI Recurring Fees.
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46. Despite its obligation to do so, Soham Investments failed to pay certain of the
Recurring Fees due and owing under the Franchise Agreement, in the current amount of

$76,857.06.

47. Soham Investments’ failure to compensate SWI constitutes unjust enrichment and

has damaged SWI.

WHEREFORE, SWI demands judgment against Soham Investments for the
Recurring Fees due and owing under the Franchise Agreement, in the current amount of

$76,857.06, together with interest, attorneys’ fees, and costs of suit.

SIXTH COUNT

48. SWI repeats and makes a part hereof each and every allegation contained in

paragraphs | through 50 of the Complaint.

49. Pursuant to the terms of the Guaranty, Kothari and Chokshi agreed, among other
things, that upon a default under the Franchise Agreement, they would immediately make each

payment and perform each obligation required of Soham Investments under the Franchise

Agreement.

50. Despite their obligation to do so, Kothari and Chokshi have failed to make any
payments or perform or cause Soham Investments to perform each obligation required under the

Franchise Agreement.

51. Pursuant to the Guaranty, Kothari and Chokshi are liable to SWI for Soham

Investments’ liquidated damages in the amount of $92,000.00, or actual damages in an amount to

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be determined at trial, and Soham Investments’ Recurring Fees due and owing under the

Franchise Agreement, in the current amount of $76,857.06.

WHEREFORE, SWI demands judgment against Kothari and Chokshi for all
liquidated damages, or actual damages, and Recurring Fees due and owing under the Franchise

Agreement, together with interest, attorneys’ fees, and costs of suit.

LeClairRyan

Attorneys for Plaintiff,

Super 8 Worldwide, Inc.,

formerly known as Super 8 Motels, Inc.

By:

BRYAN P. COUCH

Dated: lofel's

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CERTIFICATION PURSUANT TO L. CIV. R. 11.2

I certify that, to the best of my knowledge, this matter is not the subject of any other

action pending in any court or of any pending arbitration or administrative proceeding.

LeClairRyan

Attorneys for Plaintiff,

Super 8 Worldwide, Inc.,

formerly known as Super 8 Motels, Inc.

BRYAN P. COUCH

Dated: tol $ [

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EXHIBIT A

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Location: Winslow, Arizona

po ‘Entity No. 80713
Unit No.: 3118

SUPER 8 MOTELS, INC.
FRANCHISE AGREEMENT

THIS FRANCHISE AGREEMENT (‘Agreement’), dated ab. 2005,
between SUPER 8 MOTELS, INC., a South Dakota corporation (‘‘we”,é“our” or “us’’), and
SOHAM INVESTMENTS LLC, an Arizona limited Hability company you’ ’). The definitions
of capitalized terms are found in Appendix A. In consideration of the following mutual promises,

the parties agree as follows:

This transaction involves the transfer of an existing Chain Facility at the Location first granted to
A.D. Patel (“Prior Franchisee”) in a Franchise Agreement with us dated October 14, 1983 (the
“Prior Agreement”). You assume and obligate yourself to perform any and all of the obligations
(financial and otherwise) of the Prior Franchisee under the Prior Agreement that is not paid or
performed as of the date of this Agreement, including without limitation, the obligation to pay any
unpaid Royalties, System Assessment Fees or other amounts due us and to correct any uncured
defaults other'than as expressly superseded by this Agreement. You acknowledge that we may
require you or your staff to complete training on the use of a property management or similar
computer system for accessing the Reservation System and pay our retraining fee.

1. License. We have the exclusive right to license and franchise to you the distinctive

“Super 8” System for providing economy lodging motel services. We grant to you and you accept
the License, effective and commencing on the Opening Date and ending on the earliest to occur of
the Term’s expiration.or a Termination. The License is effective only at the Location and may not.
be transferred or relocated. You will call the Facility a “Super 8 Motel” and you may adopt
additional or secondary designations for the Facility with our prior written consent, which we may
withhold, condition, or withdraw on written notice in our sole discretion. You shall not affiliate or
identify the Facility with another franchise system, reservation system, brand, cooperative or
registered mark during x the Term.

2. Protected Territory. We will not own, operate, lease, manage, or license anyone but you
‘to operate a Chain Facility of the same name (Super 8 Motel) in the “Protected Territory”, defined
~ in Appendix A, while this Agreement is in effect. We may own, operate, lease, manage, franchise
or license anyone to operate any Chain Facility located anywhere outside the Protected Territory
without any restriction or obligation to you. We may grant Protected Territories for other Chain
Facilities that overlap your Protected Territory. While this Agreement is in effect, neither you nor
your officers, directors, general partners or owners of 25% or more of your Equity Interests, may
‘own, operate, lease, manage or franchise any guest lodging facility other than the Facility in the
‘Protected Territory (other than the Facility) unless we or our affiliate licenses the facility. You will
use any information obtained through the Reservation System to refer guests, directly or indirectly,
only to Chain Facilities. This Section does not apply to any Chain Facility located in the Protected
Territory on the Effective Date, which we may renew, relicense, allow to expand, or replace with a
- replacement Facility located with the same trading area having not more than 120% of the guest
rooms of the replaced Chain Facility if its franchise with us terminated or is not renewed. The
Protected Territory fairly represents the Facility’s trading area, and you acknowledge that. There
are no express or implied territorial rights or agreements between the parties except as stated in this.

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Section. The covenants in this Section are mutually dependent; if you breach this Section, your
Protected Territory will be the Location only.

3. Your Improvement and Operating Obligations. Your obligations to improve, operate
and maintain the Facility are: ,

3.1 Improvements. You must select and acquire the Location and the Facility and acquire,
equip and supply the Facility in accordance with System Standards for entering conversion
facilities. You must begin improvement of the Facility no later than thirty (30) days after the
Effective Date. The Facility must score 200 or fewer points (or equivalent score under a successor
quality assurance scoring system we employ), within ninety (90) days after the Effective Date.
You must thereafter continue renovation and improvement of the Facility as the Punch List requires
and pass any related quality assurance inspection within nine (9) months after the Effective Date.
All improvements will comply with System Standards, any Approved Plans, Schedule B and any
Punch List attached to this Agreement. Your general contractor or you must carry the insurance
required under this Agreement during renovation. If you do not commence or complete the
improvement of the Facility by the dates specified in this Section 3.1, or the Facility does not meet
the post-transfer quality assurance inspection standard or complete the post-transfer improvements
specified in the Punch List after the Effective Date, then we may, in our sole discretion, terminate
this Agreement by giving written notice to you. Time is of the essence for the Improvement
Obligation. We may, however, in our sole discretion, grant one or more extensions of time to
perform any phase of the Improvement Obligation. The grant of an extension will not waive any
other default existing at the time the extension is granted.

3.2. Improvement Plans. You will create plans and specifications for the work described in
Section 3.1 (based upon the System Standards and this Agreement) if we so request and submit
them for our approval before starting improvement of the Location. We will not unreasonably
withhold or delay our approval, which is intended only to test compliance with System Standards,
and not to detect errors or omissions in the work of your architects, engineers, contractors or the
like. Our review does not cover technical, architectural or engineering factors, or compliance with
federal, state or local laws, regulations or code requirements. We will not be liable to you or your
lenders, contractors, employees, guests or others on account of our review or approval of your plans,
drawings or specifications, or our inspection of the Facility before, during or after renovation or
construction. Any material modifications to or variations from the Approved Plans require our prior
written approval. You will promptly provide us with copies of permits, job progress reports, and
other information as we may reasonably request. We may inspect the work while in progress
without prior notice.

3.3 Opening. You may continue to identify the Facility as part of the System prior to completing
the Improvement Obligation.

3.4 Operation. You will operate and maintain the Facility continuously after the Opening Date
on a year-round basis as required by System Standards and offer transient guest lodging and other
related services of the Facility (including those specified on Schedule B) to the public in compliance
with the law and System Standards. You will not operate a Food and Beverage service without our
prior written consent, except for a complimentary coffee service/continental break fast in accordance
with System Standards. If you do not manage the. Chain Facility personally, you must employ a
full-time general manager who will be dedicated solely to the Facility. You will keep the Facility in
a clean, neat, and sanitary condition. You will clean, repair, replace, renovate, refurbish, paint, and

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redecorate the Facility and its FF&E as and when needed to comply with System Standards. The
Facility will accept payment from guests by all credit and debit cards we designate in the System
Standards Manual. You may add to or discontinue the amenities, services and facilities described in
Schedule B, or to lease or subcontract any service or portion of the Facility only with our prior
written consent, which we will not unreasonably withhold or delay. Your front desk operation,
telephone system, parking lot, swimming pool and other guest service facilities may not be shared
with or used by guests of another lodging or housing facility.

3.5 Training. If this is your first System franchise, you or one of your principal owners will
attend an orientation program as described in Section 4.1. The Facility’s initial and any replacement
general manager must complete to our satisfaction the manager training program described in
Section 4.1, even if you employ other managers for other Chain Facilities who have already
received such training. You will train or cause the training of all Facility personnel as and when
required by System Standards and this Agreement. You will pay all travel, lodging, meals and
compensation expenses of the people you send for training programs, tuition, and all travel, lodging,
meal and facility and equipment rental expenses of our representatives if training is provided at the

~ Facility.
3.6 Marketing.

3.6.1 You will participate in System marketing programs, including the Directory and the
Reservation System. You will obtain and maintain the computer and communications service and
equipment we specify to participate in the Reservation System. You will comply with our rules and
standards for participation, and will honor reservations and commitments to guests and travel
industry participants. You authorize us to offer and sell reservations for rooms and services at the
Facility according to the rules of participation and System Standards. You may implement, at your
option and expense, your own local advertising. Your advertising materials must use the Marks
correctly, and must comply with System Standards or be approved in writing by us prior to
publication. You will stop using any non-conforming, out-dated or misleading advertising materials
if we so request.

3.6.2 The Facility must participate in our Chain-wide Internet marketing activities like other
marketing programs. You will discontinue any Internet marketing that conflicts, in our reasonable
discretion, with Chain-wide Internet marketing activities. You must honor the terms of any
participation agreement you sign for Internet marketing. You shall pay when due any fees,
commissions, charges and reimbursements relating to Internet marketing activities (i) in which you
agree to participate, or (ii) that we designate as mandatory on a Chain-wide basis, provided that the
activities carry aggregate fees per transaction of not more than the sum of the full agent commission
specified on Schedule C for sales agents, plus 10% of the Chain’s reported average daily rate for the
preceding calendar year. We may suspend the Facility’s participation in Internet marketing activity
if you default under this Agreement.

3.7 Governmental Matters. You will obtain as and when needed all governmental permits,
licenses and consents required by law to construct, acquire, renovate, operate and maintain the
Facility and to offer all services you advertise or promote. You will pay when due or properly
contest all federal, state and local payroll, withholding, unemployment, beverage, permit, license,
property, ad valorem and other taxes, assessments, fees, charges, penalties and interest, and will file
when duc all governmental returns, notices and other filings. You will comply with all applicable
federal, state and local laws, regulations and orders applicable to you and/or the Facility, including
those combating terrorism such as the USA Patriot Act and Executive Order 13224.

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3.8 Financial Books & Records; Audits.

3.8.1 The Facility’s transactions must be timely and accurately recorded in accounting books
and records prepared on an accrual basis compliant with generally accepted accounting
principles of the United States (“GAAP”) and consistent with the most recent edition of the
Uniform System of Accounts for the Lodging Industry published by the American Hotel &
Motel Association, as modified by this Agreement and System Standards. You acknowledge
that your accurate accounting for and reporting of Gross Room Revenues is a material obligation
you accept under this Agreement.

3.8.2 We may notify you of a date on which we propose to audit the Facility’s books and records.
You will be deemed to confirm our proposed date unless you follow the instructions with the audit
notice for changing the date. You need to inform us where the books and records will be produced.
You need to produce for our auditors at the confirmed time and place for the audit the books,
records, tax returns and financial statements relating to the Facility for the applicable accounting
periods we require under this Agreement and System Standards. If our auditors must return lo your
location after the first date we confirm for the audit because you violate this Section 3.8.2 or refuse
to cooperate with the reasonable requests of our auditors, you must pay us the Audit Fee under
Section 4.8 when invoiced. We may also perform an audit of the Facility’s books and records
without advance notice. Your staff must cooperate with and assist our auditors to perform any audit

we conduct.

3.8.3 We will notify you in writing if you default under this Agreement because (1) you do not cure
a violation of Section 3.8.2 within 30 days after the date of the initial audit, (i1) you cancel 2 or more
previously scheduled audits, (iii) you refuse to admit our auditors for an audit during normal
business hours at the place where you maintain the Facility’s books and records, or refuse to
produce the books and records required under this Agreement and System Standards for the
applicable accounting periods, (iv) our audit determines that the books and records you produced
are incomplete or show evidence of tampering or violation of generally accepted internal control
procedures, or (v) our audit determines that that you have reported to us less than 97% of the
Facility’s Gross Room Revenues for any fiscal year preceding the audit. Our notice of default may
include, in our sole discretion and as part of your performance needed to cure the default under this
Section 3.8, an “Accounting Procedure Notice.” You must also pay any deficiency in Recurring
Fees or other charges we identify and invoice as a result of the audit. The Accounting Procedure
Notice requires that you obtain and deliver to us, within 90 days after the end of each of your next
three fiscal years ending after the Accounting Procedure Notice, an audit opinion signed by an
independent certified public accountant who is a membcr of the American Institute of Certified
Public Accountants addressed to us that the Facility’s Gross Room Revenues you reported to us
during the fiscal year fairly present the Gross Room Revenues of the Facility computed in
accordance with this Agreement for the fiscal year.

3.9 Inspections. You acknowledge that the Facility’s participation in our quality assurance
inspection program (including unannounced inspections) is a material obligation you accept
under this Agreement. You will permit our representatives to perform quality assurance
inspections of the Facility at any time with or without advance notice. The inspections will
commence during normal business hours although we may observe Facility operation at any
time. You and the Facility staff will cooperate with the inspector performing the inspection. If
the, Facility fails an inspection, you refuse to cooperate with our inspector, or you refuse to
comply with our published inspection System Standards, then you will pay us when invoiced for

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any reinspection fee specified in System Standards Manuals (which is $750 on the Effective Date
and will not exceed $2,500) plus the reasonable travel, lodging and meal costs our inspector
incurs for a reinspection. We may also conduct paper and electronic customer satisfaction
surveys of your gucsts and include the results in your final quality assurance score. We may
publish and disclose the results of quality assurance inspections and guest surveys.

3.10 Insurance. You will obtain and maintain during the Term of this Agreement the insurance
coverage required under the System Standards Manual from insurers meeting the standards
established in the Manual. Unless we instruct you otherwise, your liability insurance policies will
name Super 8 Motels, Inc., Cendant Hotel Group, Inc. and Cendant Corporation, their successors
and assigns as additional insureds.

3.11 Conferences. Chain conferences are held on either a chain-wide or regional basis. You or
your representative must attend each Chain conference and pay the Conference Fee we set for Chain
franchisees, if and when we determine to hold a Chain Conference. If you operate other lodging
facilities under the System in addition to the Facility, you must send a different representative to the
Chain conference and pay another Conference Fee for each facility. We will charge you and you
must pay the Conference Fee even if you do not attend the Chain conference. You will receive
reasonable notice of a Chain conference.

3.12 Purchasing. You will purchase or obtain certain items we designate as proprietary or that
bear Marks, such as signage, only from suppliers we approve. You may purchase any other items
for the Facility from any competent source you select, so long as the items meet or exceed System
Standards.

3.13. Good Will. You will use reasonable cfforts to protect, maintain and promote the name
“Super 8 Motels” and its distinguishing characteristics, and the other Marks. You will not permit or
allow your officers, directors, principals, employees, representatives, or guests of the Facility to
engage in, conduct which is unlawful or damaging to the good will or public image of the Chain or
System. You will follow System Standards for identification of the Facility and for you to avoid
confusion on the part of guests, creditors, lenders, investors and the public as to your ownership and
operation of the Facility, and the identity of your owners. You will refer any guest that the Facility
cannot accommodate to the nearest Chain Facility unless and until the guest expresses a preference
for a different lodging facility. You will participate in any Chain-wide guest service and satisfaction
guaranty programs we require in good faith for all Chain Facilities.

3.14 Facility Modifications. You may materially modify, diminish or expand the Facility (or
change its interior design, layout, FF&E, or facilities) only after you receive our prior written
consent, which we will not unreasonably withhold or delay. You will pay our Rooms Addition Fee
then in effect for each additional guest room you may add to the Facility over 120 rooms. If we so
request, you will obtain our prior written approval of the plans and specifications for any material
modification, which we will not unreasonably withhold or delay. You will not open to the public
any material modification until we inspect it for compliance with the Approved Plans and System
Standards.

3.15 Courtesy Lodging. You will provide lodging at the “Employee Ratc” established in the
System Standards Manual from time to time (but only to the extent that adequate room vacancies
exist) to our representatives traveling on business, but not more than three standard guest rooms at
the same time.

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3.16 Minor Renovations. Beginning three years after the Opening Date, we may issue a “Minor
Renovation Notice” to you that will specify reasonable Facility upgrading and renovation
requirements (a “Minor Renovation’) to be commenced no sooner than 90 days after the notice is
issued, having an aggregate cost for labour, FF&E and materials estimated by us to be not more
than the Minor Renovation Ceiling Amount. You will perform the Minor Renovations as and when
the Minor Renovation Notice requires. We will not issue a Minor Renovation Notice within three
years after the date of a prior Minor Renovation Notice, or if the three most recent quality assurance
inspection scores of the Facility averaged no more than 200 points and the most recent quality
assurance inspection score for the Facility was no more than 225 points (or equivalent scores under
a successor quality assurance scoring system we employ), when the Facility is otherwise eligible for
a Minor Renovation.

4, Our Operating and Service Obligations. We will provide you with the following services
and assistance:

4.1 Training. We may offer (directly or indirectly by subcontracting with an affiliate or a third
party) general manager and owner orientation training, on-site opening training, remedial training
and supplemental training.

4.1.1 General Manager Orientation Training. We will offer at a location in the United States
we designate a general manager orientation training program. The program will not exceed two
weeks in duration and will cover such topics as System Standards, services available from us, and
operating a Chain Facility. Your initial general manager (or other representative who exercises day
to day operational authority) for the Facility must complete this program to our satisfaction before
the Opening Date. If we do not offer a place in general manager orientation within that time frame,
your general manager must attend the next program held at which we offer a place. Any
replacement general manager must complete general manager orientation within 90 days after
he/she assumes the position or the next program available, whichever comes later. Your general
manager for the Facility must complete general manager orientation even if you employ managers
at other Chain Facilities who have already received this training. We charge you tuition of $1,250
for your first general manager if you open the Facility with our approval and your general
manager completes general manager orientation within the time period established under this
Agreement. You must pay the tuition then in effect as disclosed in our latest Uniform Franchise
Offering Circular (SUFOC”), but not more than $3,000, if you do not meet these deadlines. For
any supplemental or replacement general manager, you must pay the tuition in effect for the
program when your manager attends the program. You must also pay for your manager's travel,
lodging, meals, incidental expenses, compensation and benefits.

4.1.2 Owner Orientation Training. We will offer an owner orientation training program to
familiarize you with the System, the Chain, and our services. If this is your first System franchise,
you (or a person with executive authority if you are an entity) must attend owner orientation
preferably before, but not later than 90 days after the Opening Date. If we do not offer owner
orientation training within this time period, you must attend the next program offered. Financial
institutions and real estate mortgage investment conduits are exempt from the obligation to attend
owner orientation, but may choose to do so at their option. Owner orientation will be no longer than
five days. We charge you tuition of $825 if you open the Facility with our approval and attend
owner orientation within the time periods established under this Agreement. If you do not open
the Facility and attend orientation by such deadlines, you must pay the tuition then in effect for
this program as disclosed in our latest UFOC, but not more than $3,000. You must also pay your
travel, lodging, meal and incidental expenses.
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4.1.3 On-Site Opening Training. We will provide, and your staff must attend, on-site opening
training (at our discretion as to length and scheduling) to assist you in opening the Facility. We
currently do not charge tuition for this program. You will pay the cost of any site used if the
Facility is not available and the rent for any equipment we need. You must provide lodging for

our trainers at your expcnse. You must also pay, at our request, the reasonable travel, meal and
out-of-pocket expenses incurred by our trainers for on-site opening training.

4.1.4 Remedial Training. We may require you, your general manager and/or your staff to
participate in on-site remedial training if the Facility fails multiple quality assurance inspections
and/or experiences significant complaints to our guest services department, as a condition to
avoiding termination or to resumption of reservation service. You must pay the tuition in effect for
this program when it is offered to you, and you must provide lodging for our trainers. As of March
31, 2003, tuition for remedial on-site training is $450 per day, which must be paid before the
training commences. We may increase the tuition charge in the future. The length of the remedial
training could be up to five days, depending on the severity of the quality assurance and/or customer

service issues.

4.1.5 Supplemental Training. We may offer other mandatory or optional training programs for
reasonable tuition or without charge. This training could be held in our U.S. training center or other
locations. You will pay for your representative’s travel, lodging, meals, incidental expenses,
compensation and benefits and any tuition charge we establish for this training. This training may
be held in conjunction with a Chain Lodging conference. We may offer, rent or sell to you video
tapes, computer discs or other on-site training aids and materials, or require you to buy them at
reasonable prices. We may also offer Internet-based training via the Chain’s intranet website.

4.1.6 Cancellation Fees. We will charge you a cancellation fee of 100% of the tuition for a
program if you cancel your participation less than 15 days before it is scheduled to be held or if you
fail to attend a training program as scheduled without notifying us in advance. This fee is non-
refundable and you will also be charged the full tuition in effect for the program when you
reschedule your training.

4.2 Reservation System. We will operate and maintain (directly or by subcontracting with an
affiliate or one or more third parties) a computerized Reservation System or such technological
substitute(s) as we determine, in our discretion. We will use System Assessment Fees as specified
in Schedule C, allocated in our discretion from the Advertising and Reservation Fund, for the
acquisition, development, support, equipping, maintenance, improvement and operation of the
Reservation System. We will provide software maintenance for the software we license to you to
connect to the Reservation System if you are up to date in your payment of Recurring Fees and all]
other fees you must pay under any other agreement with us or our affiliate. The Facility will
participate in the Reservation System, commencing with the Opening Date for the balance of the
Term. We have the right to provide reservation services to lodging facilities other than Chain
Facilities or to other parties. We may use funds in the Advertising and Reservation Fund to
reimburse our reasonable direct and indirect costs, overhead or other expenses of operating the
Reservation System.

43 Marketing

4.3.1 We will use System Assessment Fees, allocated in our discretion from the Advertising and
Reservation Fund, to promote public awareness and usage of Chain Facilities by implementing

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appropriate international, national, regional and local advertising, promotion, publicity, market
research and other marketing programs, training programs and related activities, and the production
and distribution of System publications and directories of hotels. We will determine in our
discretion: (1) The nature and type of media placement; (11) The allocation (if any) among
international, national, regional and local markets; and (i11) The nature and type of advertising copy,
other materials and programs. System Assessment Fees may reimburse us or an affiliate for the
reasonable direct and indirect costs, overhead or other expenses of providing marketing services.
We are not obligated to supplement the Advertising and Reservation Fund or to advance funds to
pay for System marketing activities. We do not promise that you or the Facility will benefit directly
or proportionately from System marketing activities.

4.3.2 We may, at our discretion, implement special international, national, regional or local
promotional programs (which may or may not include the Facility) and may make available to you
(to use at your option) media advertising copy and other marketing materials for prices which
reasonably cover the materials’ direct and indirect costs.

4.3.3. We may, at our discretion, implement “group booking” programs created to encourage use
of Chain Facilities for tours, conventions and the like, possibly for separate fees in addition to the
System Assessment Fee, for any resulting group booking accepted at the Facility.

4.3.4 We will publish the Chain Directory. We will supply Directories to you for display at
locations specified in the System Standards Manual or policy statements. We will include the
Facility in the Chain Directory after it opens if you submit the information we request on time, and
you are not in default under this Agreement at the time we must arrange for publication. We may
assess a reasonable charge for the direct and indirect expenses (including overhead) of producing
and delivering the Directories.

44 Purchasing. We may offer optional assistance to you with purchasing items used at or in
the Facility. Our affiliates may offer this service on our behalf. We may restrict the vendors
authorized to sell proprietary or Mark-bearing items in order to control quality, provide for
consistent service or obtain volume discounts. We will maintain and provide to you lists of
suppliers approved to furnish Mark-bearing items, or whose products conform to System Standards.

4.5 The System. We will control and establish requirements for all aspects of the System. We
may, in our discretion, change, delete from or add to the System, including any of the Marks or
System Standards, in response to changing market conditions. We may, in our discretion, permit
deviations from System Standards, based on local conditions and our assessment of the
circumstances.

4.6 Consultations and Standards Compliance. We will assist you to understand your
obligations under System Standards by telephone, mail, during quality assurance inspections,
through the System Standards Manual, at training sessions and during conferences and meetings we
conduct. We will provide telephone and mail consultation on matters of Facility operation and
marketing through our representatives. We will offer you access to any Internet website we may
maintain to provide Chain franchisees with information and services, subject to any rules, policies
‘and procedures we establish for its use and access and to this Agreement. We may limit or deny
access to any such website while you are in default under this Agreement.

4.7 System Standards Manual and Other Publications. We will specify System Standards in
the System Standards Manual, policy statements or other publications. We will lend you one copy

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of the System Standards Manual promptly after we sign this Agreement. We will send you any
System Standards Manual revisions and/or supplements as and when issued. We will send you all
other publications for Chain franchisees and all separate policy statements in effect from time
to time.

4.8 Inspections and Audits. We have the unlimited right to conduct unannounced quality
assurance inspections of the Facility and its operations, records and Mark usage to test the Facility’s
compliance with System Standards and this Agreement, and the audits described in Section 3.8. We
have the unlimited right to reinspect if the Facility does not achieve the score required on an
inspection. We may impose a reinspection fee and will charge you for our costs as provided in
Section 3.9. You will pay us an “Audit Fee” of $300.00 when we invoice you for an Audit Fee
under Section 3.8. We may increase the Audit Fee on a Chain-wide basis to cover any increases in
our audit costs to not more than $500.00, effective any time after December 31, 2005. Our
inspections are solely for the purposes of checking compliance with System Standards.

5. Term. The Term begins on the Effective Date and expires at the end of the twentieth
License Year. Some of your duties and obligations will survive termination or expiration of this
Agreement. NEITHER PARTY HAS RENEWAL RIGHTS OR OPTIONS.

6. Application and Relicense Fees. We should receive from you a non-refundable Application
Fee of $1,000.00. You will pay us a non-refundable Relicense Fee in the amount of $24,000.00,
when you sign this Agreement, which is fully earned when we sign this Agreement.

7. Recurring Fees, Taxes and Interest.

74 You will pay us certain “Recurring Fees” in U.S. dollars (or such other currency as we may
direct if the Facility is outside the United States) 15 days after the month in which they accrue,
without billing or demand. Recurring Fees include the following:

7.1.1 A “Royalty” equal to five percent (5%) of Gross Room Sales of the Facility accruing during
the calendar month, accrues from the earlier of the Opening Date or the date you identify the
Facility as a Chain Facility or operate it under a Mark until the end of the Term.

7.1.2 A “System Assessment Fee” as stated in Schedule C to be paid into the Advertising and
Reservation Fund, accrues from the Opening Date until the end of the Term, including during
suspension periods. Upon 60 days written notice, we may change the System Assessment Fee after
the tenth anniversary of the Effective Date to cover costs as described in Schedule C. You will also
pay or reimburse us as described in Schedule C for “Additional Fees” such as travel and other sales
agent commissions paid for certain reservations at the Facility plus a reasonable service charge, a
“GDS Fee” levied to pay for reservations for the Facility originated or processed through the Global
Distribution System, the Internet, or other reservation systems and networks, and fees for additional
services and programs. We may increase or adjust the Additional Fees to cover the cost of the
services or to add new services or programs at any time on not less than 60 days prior written notice.

7.2 “Taxes” are equal to any federal, state or local sales, gross receipts, use, value added, excise
or similar taxes assessed against us on the Recurring Fees by the jurisdictions where the Facility is
located, but not including any income tax, franchise or other tax for our privilege of doing business
in your State. You will pay Taxes directly to us when due.

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73 “Interest” is payable on any past duc amount payable to us under this Agreement at the rate
of 1.5% per month or the maximum rate permitted by applicable law, whichever is less, accruing
from the due date until the amount is paid. Interest is payable when you receive our invoice.

7.4 If a Transfer occurs, your transferee or you will pay us a “Relicense Fee” equal to the Initial
Fee we would then charge a new franchisee for the Facility.

8. Indemnifications.

8.1 Independent of your obligation to procure and maintain insurance, you will indemnify,
defend and hold the Indemnitees harmless, to the fullest extent permitted by law, from and against
all Losses and Expenses, incurred by any Indemnitee for any investigation, claim, action, suit,
demand, administrative or alternative dispute resolution proceeding, relating to or arising out of any
transaction, occurrence or service at, or involving the operation of, the Facility, any payment you
make or fail to make to us, any breach or violation of any contract or any law, regulation or ruling
by, or any act, error or omission (active or passive) of, you, any party associated or affiliated with
you or any of the owners, officers, directors, employees, agents or contractors of you or your
affiliates, including when you are alleged or held to be the actual, apparent or ostensible agent of the
Indemnitee, or the active or passive negligence of any Indemnitee is alleged or proven. You have
no obligation to indemnify an Indemnitee for damages to compensate for property damage or
personal injury if a court of competent jurisdiction makes a final decision not subject to further
appeal that the Indemnitee engaged in willful misconduct or intentionally caused such property
damage or bodily injury. This exclusion from the obligation to indemnify shall not, however, apply
if the property damage or bodily injury resulted from the use of reasonable force by the Indemnitee
to protect persons or property.

8.2 You will respond promptly to any matter described in the preceding paragraph, and defend
the Indemnitee. You will reimburse the Indemnitee for all costs of defending the matter, including
reasonable attorneys’ fees, incurred by the Indemnitee if your insurer or you do not assume defense
of the Indemnitee promptly when requested, or separate counsel is appropriate, in our discretion,
because of actual or potential conflicts of interest. We must approve any resolution or course of
action in a matter that could directly or indirectly have any effect on parties other than you and the
complaining party in the matter, or could serve as a precedent for other matters.

8.3 We will indemnify, defend and hold you harmless, to the fullest extent permitted by law,
from and against all Losses and Expenses, incurred by you in any action or claim arising from your
proper use of the System alleging that your use of the System and any property we license to you is
an infringement of a third party’s rights to any trade secret, patent, copyright, trademark, service
mark or trade name. You will promptly notify us in writing when you become aware of any alleged
infringement or an action is filed against you. You will cooperate with our defense and resolution
of the claim. We may resolve the matter by obtaining a license of the property for you at our
expense, or by requiring that you discontinue using the infringing property or modify your use to
avoid infringing the rights of others.

9. Your Assignments, Transfers and Conveyances.

9.1 Transfer of the Facility. This Agreement is personal to you (and your owners if you are an

entity). We are relying on your experience, skill and financial resources (and that of your owners
and the guarantors, if any) to sign this Agreement with you. You may finance the Facility and grant

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a lien, security interest or encumbrance on it without notice to us or our consent. If a Transfer is to
occur, the transferee or you must comply with Section 9.3. Your License is subject to termination
when the Transfer occurs. The License is not transferable to your transferee, who has no right or
authorization to use the System and the Marks when you transfer ownership or possession of the
Facility. The transferee may not operate the Facility under the System, and you are responsible for
performing the post-termination obligations in Section 13. You and your owners may, only with
our prior written consent and after you comply with Sections 9.3 and 9.6, assign, pledge, transfer,
delegate or grant a security interest in all or any of your rights, benefits and obligations under this
Agreement, as security or otherwise. Transactions involving Equity Interests that are not Equity
Transfers do not require our consent and are not Transfers.

9.2 Public Offerings and Registered Securities. You may engage in the first registered public
offering of your Equity Interests only after you pay us a public offering fee equal to $25,000. Your
Equity Interests (or those of a person, parent, subsidiary, sibling or affiliate entity, directly or
indirectly effectively controlling you), are freely transferable without the application of this Section
if they are, on the Effective Date, or after the public offering fee is paid, they become, registered
under the federal Securities Act of 1933, as amended, or a class of securities registered under the
Securities Exchange Act of 1934, as amended, or listed for trading on a national securities exchange
or the automated quotation system of the National Association of Securities Dealers, Inc. (or any
successor system), provided that any tender offer for at least a majority of your Equity Interests will
be an Equity Transfer subject to Section 9.1.

9.3. Conditions. We may, to the extent permitted by applicable law, condition and withhold our
consent to a Transfer when required under this Section 9 until the transferee and you meet certain
conditions. Ifa Transfer is to occur, the transferee (or you, if an Equity Transfer is involved) must
first complete and submit our Application, qualify to be a franchisce in our sole discretion, given the
circumstances of the proposed Transfer, provide the same supporting documents as a new franchise
applicant, pay the Application and Relicense Fees then in effect, sign the form of Franchise
Agreement we then offer in conversion transactions and agree to renovate the Facility as we
reasonably determine, if the Facility achieves a score of less than “Satisfactory” on its most recent
Quality Assurance inspection. We will provide a Punch List of improvements we will require after
we receive the transferee’s Application. We may require structural changes to the Facility if it no
longer meets System Standards for entering conversion facilities, or in, the alternative, condition our
approval of the Transfer on one or more of the following: limit the transferee’s term to the balance
of your Term, add a right to terminate without cause exercisable by either party after a period of
time has elapsed, or allow you to terminate the License when you sell the Facility and pay us
Liquidated Damages under Section 12.1 at the same rate as you would pay if the termination
occurred before the Opening Date. Such payment would be due and payable when you transfer
possession of the Facility. We must also receive general releases from you and each of your
owners, and payment of all amounts then owed to us and our affiliates by you, your owners, your
affiliates, the transferee, its owners and affiliates, under this Agreement or otherwise. Our consent
to the transaction will not be effective until these conditions are satisfied.

9.4 Permitted Transferee Transactions. You may transfer an Equity Interest or effect an Equity

Transfer to a Permitted Transferee without obtaining our consent, renovating the Facility or paying

a Relicense Fee or Application Fee. No Transfer will be deemed to occur. You also must not be in

default and you must comply with the application and notice procedures specified in Sections 9.3

and 9.6. Each Permitted Transferee must first agree in writing to be bound by this Agreement, or at

our option, execute the Franchise Agreement form then offered prospective franchisees. No transfer
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to a Permitted Transferee shall release a living transferor from liability under this Agreement or any
guarantor under any Guaranty of this Agreement. You must comply with this Section if you
transfer the Facility to a Permitted Transferee. A transfer resulting from a death may occur even if
you are in default under this Agreement.

9.5 Attempted Transfers. Any transaction requiring our consent under this Section 9 in which our
consent is not first obtained shall be void, as between you and us. You will continue to be liable for
payment and performance of your obligations under this Agreement until we terminate this
Agreement, all your financial obligations to us are paid and all System identification is removed

from the Facility.

9.6 Notice of Transfers. You will give us at least 30 days prior written notice of any proposed
Transfer or Permitted Transferee transaction. You will notify us when you sign a contract to
Transfer the Facility and 10 days before you intend to close on the transfer of the Facility. We will
respond to all requests for our consent and notices of Permitted Transferee transactions within a
reasonable time not to exceed 30 days. You will notify us in writing within 30 days after a change
in ownership of 25% or more of your Equity Interests that are not publicly held or that is not an
Equity Transfer, or a change in the ownership of the Facility if you are not its owner. You will
provide us with lists of the names, addresses, and ownership percentages of your owner(s)

at our request.

10. Our Assignments. We may assign, delegate or subcontract all or any part of our rights and
duties under this Agreement, including by operation of law, without notice and without your
consent. We will have no obligations to you after you are notified that our transferee has assumed
our obligations under this Agreement except those that arose before we assign this Agreement.

11. Default and Termination.

11.1 Default. In addition to the matters identified in Sections 3.1 and 3.8 you will be in default
under this Agreement if (a) you do not pay us when a payment is due under this Agreement or any
other instrument, debt, agreement or account with us related to the Facility, (b) you do not perform
any of your other obligations when this Agreement and the System Standards Manual require, or (c)
if you otherwise breach this Agreement. If your default is not cured within ten days after you
receive written notice from us that you have not filed your monthly report, paid us any amount that
is due or breached your obligations regarding Confidential Information, or within 30 days after you
receive written notice from us of any other default (except as noted below), then we may terminate
this Agreement by written notice to you under Section 11.2. We will not exercise our right to
terminate if you have completely cured your default, or until any waiting period required by law has
elapsed. In the case of default resulting from the Facility’s failure to meet Quality Standards as
measured by a quality assurance inspection, you must act diligently to cure the default and
resolve health, safety, cleanliness and housekeeping failures identified in the inspection report
within 30 days after the failing inspection. Within 90 days after the failing inspection, you must
also cure the remaining items identified in the inspection report and renovate and improve the
Facility to meet our then current System Standards for entering conversion properties (or other
standards specified under System Standards 1f we are not then accepting conversions) to cure the
default. At your request, we will determine and provide a written improvement plan to assist
your efforts to cure the default.

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{1.2 Termination. We may terminate the License, or this Agreement if the Opening Date has
not occurred, effective when we send written notice to you or such later date as required by law or
as stated in the default notice, when (1) you do not cure a default as provided in Section 11.1 or
we are authorized to terminate under Section 3.1, (2) you discontinue operating the Facility as a
“Super 8 Motel”, (3) you do or perform, directly or indirectly, any act or failure to act that in our
reasonable judgment is or could be injurious or prejudicial to the goodwill associated with the
Marks or the System, (4) you lose possession or the right to possession of the Facility, (5) you (or
any guarantor) suffer the termination of another license or franchise agreement with us or one of our
affiliates, (6) you intentionally maintain false books and records or submit a materially false report
to us, (7) you (or any guarantor) generally fail to pay debts as they come due in the ordinary course
of business, (8) you, any guarantor or any of your owners or agents misstated to us or omitted to tell
us a material fact to obtain or maintain this Agreement with us, (9) you receive two or more notices
of default from us in any one year period (whether or not you cure the defaults), (10) a violation of
Section 9 occurs, (11) you or any of your Equity Interest owners contest in court the ownership or
right to license or franchise all or any part of the System or the validity of any of the Marks, (12)
you, any guarantor or the Facility is subject to any voluntary or involuntary bankruptcy, liquidation,
dissolution, receivership, assignment, reorganization, moratorium, composition or a similar action
or proceeding that is not dismissed within 60 days after its filing, or (13) you maintain or operate the
Facility in a manner that endangers the health or safety of the Facility’s guests.

11.3. Casualty and Condemnation.

11.3.1 You will notify us promptly after the Facility suffers a Casualty that prevents you from
operating in the normal course of business, with less than 75% of guest rooms available. You will
give us information on the availability of guest rooms and the Facility’s ability to honor advance
reservations. You will tell us in writing within 60 days after the Casualty whether or not you will
restore, rebuild and refurbish the Facility to conform to System Standards and its condition prior to
the Casualty. This restoration will be completed within 180 days after the Casualty. You may
decide within the 60 days after the Casualty, and if we do not hear from you, we will assume that
you have decided, to terminate the License, effective as of the date of your notice or 60 days after
the Casualty, whichever comes first. If the License so terminates, you will pay all amounts accrued
prior to termination and follow the post-termination requirements in Section 13. You will not be
obligated to pay Liquidated Damages if the Facility will no longer be used as a transient lodging
facility after the Casualty.

11.3.2 You will notify us in writing within 10 days after you receive notice of any proposed
Condemnation of the Facility, and within 10 days after receiving notice of the Condemnation date.

This Agreement will terminate on the date the Facility or a substantial portion is conveyed to or
taken over by the condemning authority.

11.3.3 The exclusive territory covenants in Section 2 will terminate when you give us notice of any
proposed Condemnation or that you will not restore the Facility after a Casualty.

11.4 Our Other Remedies. If you violate your covenant in Section 2, we may reduce the

Protected Territory to the Location. We may suspend the Facility from the Reservation System for

any default or failure to pay or perform under this Agreement or any other written agreement with

us relating to the Facility, discontinue Reservation System referrals to the Facility for the duration

of such suspension, and may divert previously made reservations to other Chain Facilities after

giving notice of non-performance, non-payment or default. All Reservation System User Fees
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accrue during the suspension period. Reservation service will be restored after you have fully cured
any and all defaults and failures to pay and perform. We may charge you, and you must pay as a
condition precedent to restoration of reservation service, a Service Interruption Fee specified on
Schedule C to reimburse us for our costs associated with service suspension and restoration. We
may omit the Facility from the Directory if you are in default on the date we must determine which
Chain Facilities are included in the Directory. You recognize that any use of the System not in
accord with this Agreement will cause us irreparable harm for which there is no adequate remedy at
law, entitling us to injunctive and other relief. We may litigate to collect amounts due under this
Agreement without first issuing a default or termination notice. If needed, our consent or approval
may be withheld while you are in default under this Agreement or may be conditioned on the cure

of all your defaults.

11.5 Your Remedies. If we fail to issue our approval or consent as and when required under this
Agreement within a reasonable time of not less than 30 days after we receive all of the information
we request, and you believe our refusal to approve or consent is wrongful, you may bring a legal
action against us to compel us to issue our approval or consent to the obligation. To the extent
permitted by applicable law, this action shall be your exclusive remedy. We shall not be
responsible for direct, indirect, special, consequential or exemplary damages, including, but not
limited to, lost profits or revenues.

12. Liguidated Damages.

12.1. Generally. If we terminate the License or this Agreement under Section 11.2, or you
terminate the License or this Agreement (except under Section 11.3 or as a result of our default
which we do not cure within a reasonable time after written notice), you will pay us within 30 days
following the date of termination, as Liquidated Damages, an amount equal to the sum of accrued
Royalties and System Assessment Fees during the immediately preceding 36 full calendar months
(or the number of months remaining in the unexpired Term (the "Ending Period") at the date of
termination, whichever is less). If the Facility has been open for fewer than 36 months, then the
amount shall be the average monthly Royalties and System Assessment Fees since the Opening
Date multiplied by 36. You will also pay any applicable Taxes assessed on such payment and
Interest calculated under Section 7.3 accruing from 30 days after the date of termination. Before the
Ending Period, Liquidated Damages will not be less than the product of $2,000 multiplied by the
number of guest rooms you are then authorized to operate under Schedule B of this Agreement, as
amended. If we terminate this Agreement under Section 3 before the Opening Date, you will pay us
within 10 days after you receive our notice of termination Liquidated Damages equal to one-half the
amount payable for termination under Section 11.2. Liquidated Damages are paid in place of our
claims for lost future Recurring Fees under this Agreement. Our right to receive other amounts due
under this Agreement are not affected.

12.2. Condemnation Payments. If a Condemnation occurs, you will pay us the fees set forth in
Section 7 for a period of one year after we reccive the initial notice of condemnation described in
Section 11.3.2 or until the Condemnation occurs, whichever is longer. If the Condemnation is
completed before the one year notice period expires, you will pay us Liquidated Damayes equal to
the average daily Royalties and System Assessment Fees for the 12 month period preceding the date
of your condemnation notice to us multiplied by the number of days remaining in the one year
notice period. This payment will be made within 30 days after Condemnation is completed (when
you close the Facility or you deliver it to the condemning authority). If the Condemnation is
completed after the one year notice period expires you will pay no Liquidated Damages, but the fees
set forth in Section 7 must be paid when due until Condemnation is completed.

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12.3. Exclusions. The amount of System Assessment Fees used in the computation of Liquidated
Damages shall exclude travel agent commissions, airline reservation system charges and related

handling charges.

13. Your Duties At and After Termination. When this Agreement terminates for any reason
whatsoever:

13.1 System Usage Ceases. You will immediately stop using the System to operate and identify
the Facility. You will remove all signage bearing any Marks and follow the other steps detailed in
the System Standards Manual for changing the identification of the Facility. You will promptly
paint over or remove distinctive System trade dress, color schemes and architectural features. You
shall not identify the Facility with a confusingly similar mark or name, or use the same colors as the
System trade dress for signage, printed materials and painted surfaces. You will cease all Internet
marketing using any Marks to identify the Facility.

13.2 Other Duties. You will pay all amounts owed to us under this Agreement within 10 days

-after termination. You will owe us Recurring Fees on Gross Room Sales accruing while the Facility
is identified as a “Super 8 Motel”, including the System Assessment Fees for so long as the Facility
receives service from the Reservation System. We may immediately remove the Facility from the
Reservation System and divert reservations as authorized in Section 11.4. We may notify third
parties that the Facility is no longer associated with the Chain. We may also, to the extent permitted
by applicable law, and without prior notice enter the Facility, and any other parcels, remove
software (including archive and back-up copies) for accessing the Reservation System, all copies of
the System Standards Manual, Confidential Information, equipment and all other personal property
of ours, and paint over or remove and purchase for $10.00, all or part of any interior or exterior
Mark-bearing signage (or signage face plates), including billboards, whether or not located at the
Facility, that you have not removed or obliterated within five days after termination. You will
promptly pay or reimburse us for our cost of removing such items, net of the $10.00 purchase price
for signage. We will exercise reasonable care in removing or painting over signage. We will have
no obligation or liability to restore the Facility to its condition prior to removing the signage. We
shall have the right, but not the obligation, to purchase some or all of the Facility’s Mark-bearing
FF&E and supplies at the lower of their cost or net book value, with the right to set off their
ageregate purchase price against any sums then owed us by you.

13.3. Advance Reservations. The Facility will honor any advance reservations, including group
bookings, made for the Facility prior to termination at the rates and on the terms established when
the reservations are made and pay when due all related travel agent commissions.

13.4 Survival of Certain Provisions. Sections 3.8 (as to audits, for 2 years after termination),
3.13, 7 (as to amounts accruing through termination), 8, 11.4, 12, 13, 15, 16 and 17 survive
termination of this Agreement, whether termination is initiated by you or us, even if termination is
wrongful.

14. Your Representations and Warranties. The parties disclaim making or relying upon any
representation, promise, covenant, or warranty, express or implied, oral or written, except as
expressly stated in this Agreement. You expressly represent and warrant to us as follows:

14.1 Quiet Enjoyment and Financing. You own, or will own prior to commencing
improvement, or lease, the Location and the Facility. You will be entitled to possession of the

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Location and the Facility during the entire Term without restrictions that would interfere with your
performance under this Agreement, subject to the reasonable requirements of any financing secured
by the Facility. You have, when you sign this Agreement, and will maintain during the Term,
adequate financial liquidity and financial resources to perform your obligations under this

Agreement.

14.2 This Transaction. You and the persons signing this Agreement for you have full power
and authority and have been duly authorized, to enter into and perform or cause performance of
your obligations under this Agreement. You have obtained all necessary approvals of your owners,
Board of Directors and lenders. No ecxecutory franchise, license or affiliation agreement for the
Facility exists other than this Agreement. Your execution, delivery and performance of this
Agreement will not violate, create a default under or breach of any charter, bylaws, agreement or
other contract, license, permit, indebtedness, certificate, order, decree or security instrument to
which you or any of your principal owners is a party or is subject or to which the Facility is subject.
Neither you nor the Facility is the subject of any current or pending merger, sale, dissolution,
receivership, bankruptcy, foreclosure, reorganization, insolvency, or similar action or proceeding on
the date you execute this Agreement and was not within the three years preceding such date, except
as disclosed in the Application. You will submit to us the documents about the Facility, you, your
owners and your finances that we request in the Franchise Application (or after our review of your
initial submissions) before or within 30 days after you sign this Agreement. To the best of your
knowledge, neither you, your owners (if you are an entity), your officers, directors or employees or
anyone else affiliated or associated with you, whether by common ownership, by contract, or
otherwise, has been designated as, or is, a terrorist, a “Specially Designated National” or a “Blocked
Person” under U.S. Executive Order 13224, in lists published by the U.S. Department of the
Treasury’s Office of Foreign Assets Control, or otherwise.

14.3. No Misrepresentations or Implied Covenants. All written information you submit to us
about the Facility, you, your owners, any guarantor, or the finances of any such person or entity,
was or will be at the time delivered and when you sign this Agreement, true, accurate and complete,
and such information contains no misrepresentation of a material fact, and does not omit any
material fact necessary to make the information disclosed not misleading under the circumstances.
There are no express or implied covenants or warranties, oral or written, between we and you except
as expressly stated in this Agreement.

15. Proprietary Rights.

15.1 Marks and System. You will not acquire any interest in or right to use the System or
Marks except under this Agreement. You will not apply for governmental registration of the Marks,
or use the Marks or our corporate name in your legal name, but you may use a Mark for an assumed
business or trade name filing.

15.2 Inurements. All present and future distinguishing characteristics, improvements and
additions to or associated with the System by us, you or others, and all present and future service
marks, trademarks, copyrights, service mark and trademark registrations used and to be used as part
of the System, and the associated good will, shall be our property and will inure to our benefit. No
good will shall attach to any secondary designator that you use.

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15.3. Other Locations and Systems. We and our affiliates each reserve the right to own, in
whole or in part, and manage, operate, use, lease, finance, sublease, franchise, license (as licensor or
licensee), provide services to or joint venture (i) distinctive separate lodging or food and beverage
marks and other intellectual property which are not part of the System, and to enter into separate
agreements with you or others (for separate charges) for use of any such other marks or proprietary
rights, (ii) other lodging, food and beverage facilities, or businesses, under the System utilizing
modified System Standards, and (iii) a Chain Facility at or for any location outside the Protected
Territory. You acknowledge that we are affiliated with or in the future may become affiliated with
other lodging providers or franchise systems that operate under names or marks other than the
Marks. We and our affiliates may use or benefit from common hardware, software,
communications equipment and services and administrative systems for reservations, franchise
application procedures or committees, marketing and advertising programs, personnel, central
purchasing, approved supplier lists, franchise sales personnel (or independent franchise sales

representatives), etc.

15.4 Confidential Information. You will take all appropriate actions to preserve the
confidentiality of all Confidential Information. Access to Confidential Information should be
limited to persons who need the Confidential Information to perform their jobs and are subject to
your general policy on maintaining confidentiality as a condition of employment or who have first
signed a confidentiality agreement. You will not permit copying of Confidential Information
(including, as to computer software, any translation, decompiling, decoding, modification or other
alteration of the source code of such software). You will use Confidential Information only for the
Facility and to perform under this Agreement. Upon termination (or earlier, as we may request),
you shall return to us all originals and copies of the System Standards Manual, policy statements .
and Confidential Information “fixed in any tangible medium of expression,” within the meaning of
the U.S. Copyright Act, as amended. Your obligations under this subsection commence when you
sign this Agreement and continue for trade secrets (including computer software we license to you)
as long as they remain secret and for other Confidential Information, for as long as we continue to
use the information in confidence, even if edited or revised, plus three years. We will respond
promptly and in good faith to your inquiry about continued protection of any Confidential
Information.

15.5 Litigation. You will promptly notify us of (1) any adverse or infringing uses of the Marks
(or names or symbols confusingly similar), Confidential Information or other System intellectual
property, and (ii) or any threatened or pending litigation related to the System against (or naming as
a party) you or us of which you become aware. We alone handle disputes with third parties
conceming use of all or any part of the System. You will cooperate with our efforts to resolve these
disputes. We need not initiate suit against imitators or infringers who do not have a material
adverse impact on the Facility, or any other suit or proceeding to enforce or protect the System in a
matter we do not believe to be material.

15.6 The Internet. You may use the Internet to market the Facility subject to this Agreement
and System Standards. You shall not use, license or register any domain name, universal
resource locator, or other means of identifying you or the Facility that uses a mark or any image
or language confusingly similar to a Mark without our consent. You will assign to us any such
identification at our request without compensation or consideration. You must make available
through the Reservation System and the Chain website all rates you offer to the general public
via Internet marketing arrangements with third parties. You must participate in the Chain’s best
available rate on the Internet guarantee or successor program. The content you provide us or use
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yourself for any Internet marketing must be true, correct and accurate, and you will notify us in
writing promptly when any correction to the content becomes necessary. You shall promptly
modify at our request the content of any Internet marketing material for the Facility you use,
authorize, display or provide to conform to System Standards. Any use of the Marks and other
elements of the System on the Internet inures to our benefit under Section 15.2.

16. Relationship of Parties.

16.1 Independence. You are an independent contractor. You are not our legal representative or
agent, and you have no power to obligate us for any purpose whatsoever. We and you have a
business relationship based entirely on and circumscribed by this Agreement. No partnership, joint
venture, agency, fiduciary or employment relationship is intended or created by reason of this
Agreement. You will exercise full and complete control over and have full responsibility for your
contracts, daily operations, labor relations, employment practices and policies, including, but not
limited to, the recruitment, selection, hiring, disciplining, firing, compensation, work rules and
schedules of your employees.

16.2 Joimt Status. If you comprise two or more persons or entities (notwithstanding any
agreement, arrangement or understanding between or among such persons or entities) the rights,
privileges and benefits of this Agreement may only be exercised and enjoyed jointly. The liabilities
and responsibilities under this Agreement will be the joint and several obligations of all such
persons or entities.

17. Legal Matters.

17.1 Partial Invalidity. If all or any part of a provision of this Agreement violates the law of
your state (if it applies), such provision or part wil] not be given effect. If all or any part of a
provision of this Agreement is declared invalid or unenforceable, for any reason, or is not given
effect by reason of the prior sentence, the remainder of the Agreement shall not be affected.
However, if in our judgment the invalidity or ineffectiveness of such provision or part
substantially impairs the value of this Agreement to us, then we may at any time terminate this
Agreement by written notice to you without penalty or compensation owed by either party.

17.2 Waivers, Modifications and Approvals. If we allow you to deviate from this Agreement,
we may insist on strict compliance at any time after written notice. Our silence or inaction will
not be or establish a waiver, consent, course of dealing, implied modification or estoppel. All
modifications, waivers, approvals and consents of or under this Agreement by us must be in
writing and signed by our authorized representative to be effective. We may unilaterally revise
Schedule C when this Agreement so permits.

17.3 Notices. Notices will be effective if in writing and delivered (i) by facsimile transmission
with confirmation original sent by first class mail, postage prepaid, (ii) by delivery service, with
proof of delivery, or (ili) by first class, prepaid certified or registered mail, return receipt
requested, to the appropriate party (x) at its address stated below or as it may otherwise designate
by notice, or (y) by such other means as to result in actual or constructive receipt by the person
or office holder designated below. The parties may also communicate via electronic mail
between addresses to be established by notice. You consent to receive electronic mail from us.
Notices shall be deemed given on the date delivered or date of attempted delivery, if refused.

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e e
Super 8 Motels, Inc.:

Our address: 1 Sylvan Way, P.O. Box 278, Parsippany, New Jersey 07054-0278
Attention: Vice President-Franchise Administration;
Fax No. (973) 496-5360

Your name: Soham Investments LLC,

Your address: 1722 Mitchell Avenue, #105, Tustin, California 92780,
Attention: Pravin C. Kothari;

Your fax No.: (714) 573-0244.

17.4 Remedies. Remedies specified in this Agreement are cumulative and do not exclude any
remedies available at law or in equity. The non-prevailing party will pay all costs and expenses,
including reasonable attorneys' fees, incurred by the prevailing party to enforce this Agreement
or collect amounts owed under this Agreement.

17.5 Miscellaneous. This Agreement is exclusively for the benefit of the parties. There are no
third party beneficiaries. No agreement between us and anyone else is for your benefit. The
section headings in this Agreement are for convenience of reference only.

17.6 Choice of Law; Venue; Dispute Resolution.

17.6.1 This Agreement will be governed by and construed under the laws of the State of New
Jersey, except for its conflicts of law principles. The New Jersey Franchise Practices Act will
not apply to any Facility located outside the State of New Jersey.

17.6.2 The parties shall attempt in good faith to resolve any dispute concerning this Agreement or
the parties’ relationship promptly through negotiation between authorized representatives. If these
efforts are not successful, either party may attempt to resolve the dispute through non-binding
mediation. Either party may request mediation through the National Franchise Mediation Program,
using the procedures employed by the CPR Institute for Dispute Resolution, Inc. We will provide
you with the contact address for that organization. The mediation will be conducted by a mutually
acceptable and neutral third party. If the partics cannot resolve the dispute through negotiation or
mediation, or choose not to negotiate or mediate, either party may pursue litigation.

17.6.3 You consent and waive your objection to the non-exclusive personal jurisdiction of and
venue in the New Jersey state courts situated in Morris County, New Jersey and the United
States District Court for the District of New Jersey for all cases and controversies under this
Agreement or between we and you.

17.6.4 WAIVER OF JURY TRIAL. THE PARTIES WAIVE THE RIGHT TO A JURY
TRIAL IN ANY ACTION RELATED TO THIS AGREEMENT OR THE
RELATIONSHIP BETWEEN THE FRANCHISOR, THE FRANCHISEE, ANY
GUARANTOR, AND THEIR RESPECTIVE SUCCESSORS AND ASSIGNS.

17.7 Special Acknowledgments. You acknowledge the following statements to be true and
correct as of the date you sign this Agreement, and to be binding on you.

17.7.1. You received our Uniform Franchise Offering Circular ("UFOC") for prospective
franchisees at least 10 business days before, and a copy of this Agreement and all other

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agreements we are asking you to sign at least 5 business days before, signing this
Agreement and paying the Initial Fee to us. You have received our UFOC at least 10
business days before you paid any fee to us or signed any contract with us.

17.7.2 Neither we nor any person acting on our behalf has made any oral or written
representation or promise to you on which you are relying to enter into this Agreement
that is not written in this Agreement. You release any claim against us or our agents based
on any oral or written representation or promise not stated in this Agreement.

17.7.3. This Agreement, together with the exhibits and schedules attached, is the entire
agreement superseding all previous oral and written representations, agreements and
understandings of the parties about the Facility and the License.

17.7.4 You acknowledge that no salesperson has made any promise or provided any
information to you about projected sales, revenues, income, profits or expenses from the
Facility except as stated in Item 19 of the UFOC or in a writing that is attached to this
Agreement.

17.7.5 You understand that the franchise relationship is an arms' length, commercial
business relationship in which each party acts in its own interest.

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IN WITNESS WHEREOF, the parties have executed this Agreement as of the date first stated

above.

WE:

SUPER 8 MOVE _

By: LL Attest: Ante /—_
“ Rigpatt altzman Assistant Secretary

Ve ig Sa
Franchise Administration

YOU, as Franchisee:
SOHAM INVESTMENTS LLC

By: (ne ei vine J oMafl d (lt

Print Name: PRAIA Keni
Managing Member

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APPENDIX A

DEFINITIONS

Advertising and Reservation Fund or “the Fund” means The Super 8 Advertising and Reservation
Fund into which System Assessment Fees are paid. The Fund is under our exclusive control, and
shall be used by us for funding and administering, in our sole discretion, the reservation system, the
training school, national and international directories, print and broadcast media advertising,
technical and professional advice, consultation and services in connection with advertising,
employment of personnel and office expenses for the administration of the Fund, advertising agency
commissions, and other advertising or promotional programs we establish to promote the Chain.

Agreement means this Franchise Agreement.

Application Fee means the fee you pay when you submit your Application under Section 6.

Approved Plans means your plans and specifications for constructing or improving the Facility
initially or after opening, as approved by us under Section 3.

Casualty means destruction or significant damage to the Facility by act of God or other event
beyond your reasonable anticipation and control.

Chain means the network of Chain Facilities.

Chain Facility means a lodging facility we own, lease, manage, operate or authorize another party to
operate using the System and identified by the Marks.

Condemnation means the taking of the Facility for public use by a government or public agency
legally authorized to do so, permanently or temporarily, or the taking of such a substantial portion of
the Facility that continued operation in accordance with the System Standards, or with adequate
parking facilities, is commercially impractical, or if the Facility or a substantial portion is sold to the
condemning authority in licu of condemnation.

Conference Fee means the fee we charge for your attendance at a conference for.Chain Facilities
and their franchisees when and if held.

Confidential Information means any trade secrets we own or protect and other proprietary
information not generally known to the lodging industry including confidential portions of the
System Standards Manual or information we otherwise impart to you and your representatives in
confidence. Confidential Information includes the “Rules of Operation Manual” and all other
System Standards manuals and documentation, including those on the subjects of employee
relations, finance and administration, field operation, purchasing and marketing, the Reservation
System software and applications software.

Design Standards mean standards specified in the System Standards Manual from time to time for
design, construction, renovation, moditication and improvement of new or existing Chain Facilities,
including all aspects of facility design, number of rooms, rooms mix and configuration, construction
materials, workmanship, finishes, electrical, mechanical, structural, plumbing, HVAC, utilities,
access, life safety, parking, systems, landscaping, amenities, interior design and decor and the like
for a Chain Facility.

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Directory means the general purpose directory we publish listing the names and addresses of Chain
Facilities, and at our discretion, other Super 8 Motels and Super Suites facilities located outside the

United States, Canada and Mexico.

Effective Date means that you first take possession of the Facility, even if you sign this
Agreement after the date you first take possession of the Facility.

Equity Interests shall include, without limitation, all forms of equity ownership of you, including
voting stock interests, partnership interests, limited liability company membership or ownership
interests, joint and tenancy interests, the proprietorship interest, trust beneficiary interests and all
options, warrants, and instruments convertible into such other equity interests.

Equity Transfer means any transaction in which your owners or you sell, assign, transfer, convey,
pledge, or suffer or permit the transfer or assignment of, any percentage of your Equity Interests that
will result in a change in control of you to persons other than those disclosed on Schedule B, as in
effect prior to the transaction. Unless there are contractual modifications to your owners’ rights, an
Equity Transfer of a corporation or limited liability company occurs when either majority voting
rights or beneficial ownership of more than 50% of the Equity Interests changes. An Equity
Transfer of a partnership occurs when a newly admitted partner will be the managing, sole or
controlling general partner, directly or indirectly through a change in control of the Equity Interests
of an entity general partner. An Equity Transfer of a trust occurs when either a new trustee with
sole investment power is substituted for an existing trustee, or a majority of the beneficiaries convey
their beneficial interests to persons other than the beneficiaries existing on the Effective Date. An
Equity Transfer does not occur when the Equity Interest ownership among the owners of Equity
Interests on the Effective Date changes without the admission of new Equity Interest owners. An
Equity Transfer occurs when you merge, consolidate or issue additional Equity Interests in a
transaction which would have the effect of diluting the voting rights or beneficial ownership of your
owners’ combined Equity Interests in the surviving entity to less than a majority.

Facility means the Location, together with all improvements, buildings, common areas, structures,
appurtenances, facilities, entry/exit rights, parking, amenities, FF&E and related rights, privileges
and properties existing at the Location on the Effective Date or afterwards.

FF&E means furniture, fixtures and equipment.

FF&E Standards means standards specified in the System Standards Manual for FF&E and supplies
to be utilized in a Chain Facility.

Food and Beverage means any restaurant, catering, bar/lounge, entertainment, room service, retail
food or beverage operation, continental breakfast, food or beverage concessions and similar services
offered at the Facility.

Gross Room Sales_ means gross revenues attributable to or payable for rentals of guest rooms at the
Facility, including all credit transactions, whether or not collected, but excluding separate charges to
guests for Food and Beverage, room service, telephone charges, key forfeitures and entertainment:
vending machine receipts; and federal, state and local sales, occupancy and use taxes.

Improvement Obligation means your obligation to either (i) renovate and upgrade the Facility, or
(ii) construct and complete the Facility, in accordance with the Approved Plans and System
Standards, as described in Section 3.

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Indemnitees means us, our direct and indirect parent, subsidiary and sister corporations, and the
respective officers, directors, shareholders, employees, agents and contractors, and the successors,
assigns, personal representatives, heirs and legatees of all such persons or entities.

Initial Fee means the fee you are to pay for signing this Agreement as stated in Section 6.

License means the non-exclusive license to operate the type of Chain Facility described in
Schedule B only at the Location, using the System and the Mark we designate in Section |.

License Year means:

(i) If the Opening Date occurs on the first day of a month: the period beginning on the
Opening Date and ending on the day immediately preceding the first anniversary of the Opening
Date, and each subsequent one year period; or

- (ii) If the Opening Date does not occur on the first day of a month: the period beginning
on the Opening Date and ending on the first anniversary of the last day of the month in which the
Opening Date occurs, and each subsequent one year period.

Liquidated Damages means the amounts payable under Section 12, set by the parties because actual
damages will be difficult or impossible to ascertain on the Effective Date and the amount is a
reasonable pre-estimate of the damages that will be incurred and is not a penalty.

Location means the parcel of land situated at 1916 West 3rd Street, Winslow, Arizona 86047, as
more fully described in Schedule A.

Losses and Expenses means (x) all payments or obligations to make payments either (i) to or for
third party claimants by any and all Indemnitees, including guest refunds, or (ii) incurred by any
and all Indemnitees to investigate, respond to or defend a matter, including without limitation
investigation and trial charges, costs and expenses, attorneys’ fees, experts’ fees, court costs,
settlement amounts, judgments and costs of collection; and (y) the “Returned Check Fee” we
then specify in the System Standards Manual ($20.00 on the Effective Date) if the drawee
dishonors any check that you submit to us.

Maintenance Standards means the standards specified from time to time in the System Standards
Manual for repair, refurbishment and replacement of FF&E, finishes, decor, and other capital items
and design materials in Chain Facilities.

Marks means, collectively (i) the service marks associated with the System published in the System
Standards Manual from time to time including, but not limited to, the name, design and logo for
“Super 8 Motel” and other marks (U.S. Reg. Nos.: 992,721; 1,691,852; 1,686.653; 1,706,143:
1,602,723; 1,343,591, and 1,768,824) and (ii) trademarks, trade names, trade dress, logos and
derivations, and associated good will and related intellectual property interests.

Marks Standards means standards specified in the System Standards Manual for interior and
exterior Mark-bearing signage, advertising materials, china, linens, utensils, glassware, uniforms,
stationery, supplies, and other items, and the use of such items at the Facility or elsewhere.

Minor Renovation means the repairs, refurbishing, repainting, and other redecorating of the interior,
exterior, guest rooms, public areas and grounds of the Facility and replacements of FF&E we may
require you to perform under Section 3.16.

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Minor Renovation Ceiling Amount means $3,000.00 per guest room.

Minor Renovation Notice means the written notice from us to you specifying the Minor Renovation
to be performed and the dates for commencement and completion given under Section 3.16.

Opening Date means the date as of which we authorize you to open the Facility for business
identified by the Marks and using the System even if you sign this Agreement after that date.
Unless we require that you close the Facility to perform any pre-opening Improvement
Obligation, the Opening Date is the Effective Date.

Operations Standards means standards specified in the System Standards Manual for cleanliness,
housekeeping, general maintenance, repairs, concession types, food and beverage service, vending
machines, uniforms, staffing, employee training, guest services, guest comfort and other aspects of
lodging operations.

Permitted Transferee means (1) any entity, natural person(s) or trust receiving from the personal
representative of an owner any or all of the owner’s Equity Interests upon the death of the owner, if
no consideration is paid by the transferee or (11) the spouse or adult issue of the transferor, if the
Equity Interest transfer is accomplished without consideration or payment, or (iii) any natural
person or trust receiving an Equity Interest if the transfer is from a guardian or conservator
appointed for an incapacitated or incompetent transferor.

Protected Territory means the area within a three (3) mile radius whose center point is the front
door of the Facility.

Punch List means the list of upgrades and improvements attached as part of Schedule B, which you
are required to complete under Section 3.

Recurring Fees means fees paid to us on a periodic basis, including without limitation, Royalties,
System Assessment Fees, and other reservation fees and charges as stated in Section 7.

Relicense Fee means the fee you are to pay for signing this Agreement as stated in Section 6. It
also refers to the fee your transferee or you pay to us under Section 7 when a Transfer occurs.

Reservation System or “Central Reservation System” means the system for offering to interested
parties, booking and communicating guest room reservations for Chain Facilities described in

Section 4.2.

Rooms Addition Fee means the fee we charge you for adding guest rooms to the Facility.

Royalty means the monthly fee you pay to us for use of the System under Section 7.1.1. “Royalties”
means the aggregate of all amounts owed as a Royalty.

Service Interruption Fee means the fee you pay us when we suspend Central Reservation System
service because you default under this Agreement, in the amount specified in Schedule C.

System means the comprehensive system for providing guest lodging facility services under the
Marks as we specify which at present includes only the following: (a) the Marks; (b) other

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intellectual property, including Confidential Information, System Standards Manual and know-how,
(c) marketing, advertising, publicity and other promotional materials and programs; (d) System
Standards; (e) training programs and materials; (f) quality assurance inspection and scoring
programs; and (g) the Reservation System.

System Assessment Fee means the aggregate of all fees charged under Section 7.1.2 to pay for the
cost of the System’s marketing, advertising, Reservation System, training and other services.

System Standards means the standards for the participating in the System published in the System
Standards Manual, including but not limited to Design Standards, FF&E Standards, Marks
Standards, Operations Standards, Technology Standards and Maintenance Standards and any other
standards, policies, rules and procedures we promulgate about System operation and usage.

System Standards Manual means the Rules of Operations Manual, the Trademark Identification
Standards Manual and any other manual we publish or distribute specifying the System Standards.

Taxes means the amounts payable under Section 7.2 of this Agreement.

Technology Standards means standards specified in the System Standards Manual for local and long
distance telephone communications services, telephone, telecopy and other communications
systems, point of sale terminals and computer hardware and software for various applications,
including, but not limited to, front desk, rooms management, records maintenance, marketing data,
accounting, budgeting and interfaces with the Reservation System to be maintained at the Chain
Facilities.

Term means the period of time during which this Agreement shall be in effect, as stated in
Section 5.

Termination means a termination of the License under Sections 11.1 or 11.2 or your termination of
the License or this Agreement.

Transfer means (1) an Equity Transfer, (2) you assign, pledge, transfer, delegate or grant a security
interest in all or any of your rights, benefits and obligations under this Agreement, as security or
otherwise without our consent as specified in Section 9, (3) you assign (other than as collateral
security for financing the Facility) your leasehold interest in (if any), lease or sublease all or any part
of the Facility to any third party, (4) you engage in the sale, conveyance, transfer, or donation of
your right, title and interest in and to the Facility, (5) your lender or secured party forecloses on or
takes possession of your interest in the Facility, directly or indirectly, or (6) a receiver or trustee is
appointed for the Facility or your assets, including the Facility. A Transfer does not occur when
you pledge or encumber the Facility to finance its acquisition or improvement, you refinance it, or
you engage in a Permitted Transferee transaction.

“You” and “Your” means and refers to the party named as franchisee identified in the first
paragraph of this Agreement and its Permitted Transferees.

“We”, “Our” and “Us” means and refers to Super 8 Motels, Inc., a South Dakota corporation, its
successors and assigns.

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SCHEDULE A

(Legal Description of Facility)

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EXHIBIT “A*
LEGAL DESCRIPTION

PARCEL NO. } 3

The Bast half of Lot 29 and all of Lot 30, of KACHINA VISTA NO. 2, according to the plat of record in
the office of the County Recorder of Navajo County, Arizona, recorded in Book 5 of Plats, Page 43;

EXCEPT all minerals as reserved in instrament recorded in Book 18 of Deeds, Page 453. .

PARCEL NO. 2

BEGINNING at a paint on the Section line between Section 23 and 24, Township 19 North, Range 15
Bast of the Gila and Salt River Base and Meridian, Navajo County, Arizona, 489. 47 feet Northerly from
the quarter corner between said Sections;

THENCS rum at an angle of 90 degrees to the left, a distance of 303.40 fect to the intersection of the
Arizona State Highway right-of-way fence,

THENCE tum at an angle of 45 degrees to the right, a distance of 50 feet along said right-of-way fence;
THENCE tum at on angle of 00 degrees 18 minutes to the left along snid fence, a distance of 100 feet;

THENCE tum at an angle of 00 degrees 35 migutes to the lef along said fence a distance of 50 feet to the
TRUE POINT OF BEGINNING; yo

THENCE turn at an angle of 00 degrees 32 minutes to the left slong said fence, a distance of 50 feet;
THENCE tum at on angle of 00 degrees 25 minutes to the left, a distance of 50 feet;

THENCE turn of on angle of 89 degrass 43 minutes to the right, a distance of 300 fest,

THENCE tum at on angle of91 degrees 14 minutes to the night, a distance of 162.20 feet;

THENCE turn ot og angle of 91 degrees 39 minutes to the right, a distance of 162,20 feet,

THENCE tum et on angle of 91 degrees 39 minutes to the right, a distance of 298.45 feet to the TRUE
POINT OF BEGINNING,

EXCEPT all minerals as reserved in instrument recorded in Book 18 of Deeds, Page 453.
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SCHEDULE B
PART I: YOUR OWNERS:
Ownership Type of Office Held
Name Percentage Equity Interest (Title)
Pravin C. Kothari 50.0% Member
Hitesh Chokshi 50.0% Member
PART II: THE FACILITY:

Primary designation of Facility: Super 8 Motel
Number of approved guest rooms: 46.
Parking facilities (number of spaces, description): 46.

Other amenities and facilities:

PART IIL: DESCRIPTION AND SCHEDULE OF RENOVATIONS TO BE
COMPLETED AS THE IMPROVEMENT OBLIGATION:

[Punch List to be attached.]

Initial

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FRANCHISOR: SUPER 8 MOTELS, INC.

. "SCHEDULE B PART ITI"
PUNCHLIST FOR CHANGE OF OWNERSHIP
JUNE 1, 2004

_ (Revised on May 24, 2005)

FACILITY TIER GUESTROOMS

Super 8 Motel #3118 ‘Motel 46
1916 W. 3” Street :
"Winslow, AZ
oO FRANCHISE
-OWNER/APPLICANT . RETENTION
Pravin C. Kothari Kevin Paterson
 . (714) 573-0244 . (949) 367-2463
STANDARD
Lobby Dimensions: 220 SF
Guestroom Dimensions: 288 SF
’ COMPLETION TIME

All items listed in this punchlist must be completed within the noted time frames.

This Punchlist may contain approved time extensions granted for the purpose of

- completing specific upgrades or projects required for compliance with the Rules of
Operation and Design Manual for Super 8 Motels, Inc. Failure to comply with time
extension deadlines may result in immediate reservation restriction and default under your

franchise agreement.

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~ Super 8 Motel #3118
Winslow, AZ

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All new General Managers are required to complete management training. It is strongly —
_ recommended that this take place prior to opening as a Super 8 Motel, but in no event

may it be postponed any longer than 90 days after the opening date.

All first time Super 8 Motel franchisees are required to attend an orientation n pro gram.

Super 8 Motel exterior signage per Company specifications.

- Dumpster enclosure to conceal from guests’ view is required.

Landscape upgrades that are professionally designed and executed and approved | in
advance by the franchisor.

_ ASUPER 8 MOTEL showcase in lobby area _

Each Super 8 Motel is required to provide at a minimum, a complimentary continental

breakfast per Company specifications.

* A portable phone at the front desk for manager's use.

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A gas detection system must be installed in each area where gas appliances exist in the

“property.

Facilities to assist the handicapped i in accordance with Local, State and Federal codes,
regulations and ordinances.

Stairwell(s) and corridor(s) must be equipped with emergency and exit lighting with a
backup power source.

Super 8 Motels, Inc. does not allow restaurant or lounge facilities. Restaurant/lounge

space must be renovated for alternative use.
A Company approved Property Management System (PMS) is required.
Electronic locks meeting Company specifications are to be installed all guestroom

‘entrance doors.

Hardwired smoke detectors with ¢ a backup system ¢ are required. This system may be 4
battery within the unit or a generator system that is capable of restoring electrical service
in case of an outage. .

A safety guard lock (loop bar or chain) or other non-keyed locking device is required,

Install a self-closing device on all interior guestroom entrance doors.

A one-way viewer in all guestroom entrance doors. _
A one way, doorknob latch set and a separate, non-keyed, 1" deadbolt lock on all
connecting room doors. Operating knobs must be located on room side only with flush

“plates on inside of doors.

A minimum of one glass front, framed picture per headboard, two ina King bedded room
is required. Minimum size required is 20" x 16".

Minimum 25”, remote control televisions are required.

A solid wood or upholstered (viny! not acceptable) luggage bench or wood ¢ or metal.
folding luggage rack is required.

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' Super 8 Motel #3118
Winslow, AZ

¢ A GFCI (Ground F ault Circuit Interrupter) outlet in vanity areas:
e A minimum of 60% of guestrooms must be prepared and designated as non-smoking

— rooms,
3 Company. requires that all properties maintain housekeeping at the highest levels.

novations are required for this site, ©.

PROPERT Y EX. TERIOR:

Upgrade landscaping to enhance curb appeal by installing items such as landscape islands
_ that may include trees, shrubs, flowers and ground cover. Additional landscape beds

should be installed concentrating on the perimeter areas. Eliminate weeds and
overgrowth in rear of building. The use of a professional landscaping firm is required.
For additional assistance, contact the Design and Development Department at 073) 496-

2525 for assistance.

_ PUBLIC AREAS:

“At time of inspection, there was a spider found in room #121. All necessary measures are
needed to eliminate all insects from the guestrooms. .

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LO . fae eo ee

_” Super 8 Motel #3118
- Winslow, AZ

‘1. Each Super 8 Motel is required to provide at a minimum, a complimentary continental

'" > “breakfast per.Company specifications.. An upgraded complimentary continental breakfast
option is also permitted arid must meet the minimum upgrade specifications established
by the Company. The property’s directory listing must accurately reflect the breakfast

option offered to guests.
7, This area is required to be furnished with all necessary F F & E (i.e. fabric upholstered
seating, counter space, enclosed trash receptacles, etc.) deemed necessary by the Brand

and the Design and Development Department. Contact the Design and Development |
Department at (973) 496-2525 for assistance.

me GUESTROOMS:

. Repair out of adjustment. self closures t to properly close as in rooms #240, #109 and #12 1.

. OPERA T. Ti ONAL REQUIREMEN TS:
A, Company requires that all properties maintain housekeeping a at the highest levels.

2 Ensureé property i is in compliance. with all items outlined im the Rules of Operation and \
'| © Design Manual for Super 8 Motels, Inc. to include but not be limited to current market
collateral, staff uniforms, guest convenience > and amenity items, guestroom amenities and
-., supplies and.so on.

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~ Super 8 Motel #3118
Winslow, AZ

V 120 DAYS OF THE NEW LICENSE

AGREEMENT oe

- PUBLIC AREAS:

Remove guestroom style credenza in ‘continental breakfast seating area. Commercial _
style furniture is required. The use e of guestroom furniture i in public: areas is not
_ acceptable.

. GUES. T. ROOMS:

Uperade guestrooms and bath area to include:
- a Replace carpet where worn or stained as in room #248. Company requires
- - minimum 26 ounce cut pile carpet with padding Carpet must also be wall to wall.
bo Replace activity table chairs where stained as in room #240. Two chairs -
(minimum one with arms) per room are required. Chairs must be fabric covered.
___ Ensure new chairs match existing casegoods.

c. Replace mismatched floor lamps. Provide one lamp per r headboard and lighting i in
the work area, leisure area and credenza area. All wall-mounted lamps must have
wire covers or molding, loose cords are not acceptable. Lamp package must be

- neutral and contemporary (i.e. brass). The use of red or other colors of anodized.
- metal is not recommended. Swag lamps are not acceptable. -
‘a. Replace linen to include sheets, pillows, pillow cases, blankets andr mattress pads

at have holes. |”
é._ Replace flat pillows. The use of two pillows in one pillowease as in room #240 i is
not acceptable.
f. Replace bedsets (mattress and boxsprings) to climinate all that are stained, sagging
or have loss of support.

g. Repair and paint bath walls where patched or peeling as in rooms #109 and #114,
' ~ Company requires either 12 ounce vinyl wallcovering or an approved textured
finish. Replace tub/shower surrounds. -
_ hh.” Replace phimbing fixtures/trim (sinks ¢ or tubs) where tarnished or corroded (faucets,
~ ' drains rings, etc.).
_ i. Replace toilet seats where discolored or, - stained as in room #109. A toilet seat/lid
combination is required.

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- Super 8 Motel #3118
Winslow; AZ

HANDWRITTEN OR UNAUTHORIZED REVISIONS TO THIS PUNCHLIST ARE NOT
-: WALID AND DO NOT BIND THE FRANCHISOR. ANY AND.ALL REVISIONS TO THIS
_ PUNCHLIST MUST BE MADE AND APPROVED BY THE FRANCHISOR'S QUALITY

. ASSURANCE DEPARTMENT. . oo

This Punchlist identifies items that require action due to meet the Franchisor’s standards. The
Franchisor does not warrant that completion of the items on this Punchlist will cause the —
converting facility to be in compliance with any applicable federal, state, local codes, ordinances
or regulations. You (and your architect, contractor and engineer, if applicable).are solely

"’ responsible for conforming the Facility to the requirements of federal, ‘state ‘and local codes,
ordinances and’ regulations that may apply to your site.

‘This Punchlist has been prepared on the basis of a random sample inispection of the F acility on

the date specified: The owner is responsible for meeting all Franchisor Standards. All repairs,
replacements and improvements must cause the item to meet or exceed the Franchisor's standards
published in the Standards of Operation and Design Manual. : .

. This Punchlist. will be subject to revision at the discretion of the Franchisor if the condition of the
facility changes materially or the License (Franchise) Agreement to which this is attached is
executed more than 90 days after the date of the Punchlist. Note that ordinary wear and tear,
particularly during busy seasons, may result i in the need for additional work to meet entry

Standards of the Franchisor.

This Punchlist i is subject 1 to revision by the Franchise Review Committee and should not be
‘considered to be final until the License Agreement for the inspected facility i is executed by
the Company. — .

~ NOTE: ‘Any item on this Punchlist that is not required to be completed prior to the new license
agreement will continue to.be evaluated for appearance and condition during all Quality
Assurance inspections conducted before the date when completion i is required. |

This Punchilist was revised on ‘May 24, 2005, All previous copies are invalid. -
1. revised on 10/13/04 name change 2. revised on 05/24/05 name change — ‘~

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SUPER 8 MOTELS, INC.
SCHEDULE.C
April 2005

System Assessment Fee

The System Assessment Fee is equal to three percent (3%) of Gross Room Sales, and is paid
into the Advertising and Reservation Fund. The System Assessment Fee is a recurring,
non-refundable payment. All or any part of Fund proceeds received during an accounting period
need not be disbursed within that accounting period. Notwithstanding the above, we may increase
the System Assessment Fee you pay upon 60 days advance written notice, effective at any time on
or after the tenth (10th) anniversary of the Effective Date of this Agreement, as part of a Chain-
wide increase in System Assessment Fees we implement in our sole discretion to cover costs
(including reasonable direct or indirect overhead costs) related to such services and programs. We
may increase System Assessment Fees on a Chain-wide basis before the tenth anniversary of the
Effective Date but such Fees will not begin to accrue at the increased rate until the tenth anniversary

of the Effective Date.

Additional Fees

A. Mandatory Marketing Program Charge

We charge a Mandatory Marketing Program Charge for your participation in the
TripRewards® or successor guest loyalty program. Under TripRewards, program members:
staying at qualifying rates at Chain Facilities earn their choice of TripRewards points, airline
miles or other program currency. TripRewards points are redeemable for free stays at Chain
Facilities and for travel, merchandise, entertainment and other awards. The Mandatory
Marketing Program Charge is up to 5% of the Gross Room Sales accruing from each qualifying
stay at the Facility. We will proactively match and award members with points or other program
currency they earn on qualified stays even if they do not present their TripRewards membership
card upon check-in. You will be billed monthly in arrears for qualifying stays by program
members during the preceding month.

B. GDS and Internet Booking Fees

We will charge you under our Central Commission Payment Program either a GDS Fee
or an Internet Booking Fee for reservations processed through the global distribution systems
(“GDS”), including any operated by an affiliate, or the Internet for your Facility. The GDS Fee
described in Section 7 is $4.50 per reservation processed through any GDS or through any
Internet website powered by a GDS. Internet-originated reservations carry fees of $3.50 per
reservation booked through sources other than GDS powered websites or our Chain website.
GDS and Internet-originated reservations may also carry a commission if the originator qualifies.
If a guest cancels a GDS or Internet-originated reservation using the same source as was used to
originate the reservation, you will not be charged the applicable fee.

Cc. Other Reservation System Charges

Agency and other commissions are typically 10% of the Gross Room Sales generated by
each reservation booked by an agency or other qualifying originator, plus our service charge of
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_.75% of commissionable revenue. Agencies which are part of a travel consortium or a travel
management company, including our affiliates, may charge additional commissions of up to 5%
and/or participation fees to be included in their programs. We may raise the agent commission to
up to 15% of Gross Room Sales from time to time for certain Chain-wide promotions, plus our
service charge of .75% of commissionable revenue, upon 30 days advance written notice. Such
increases will apply only to reservations booked after we announce the increased commission unless
we specify otherwise. The general sales agent commission (also known as the international sales
office commission) is 15% of the Gross Room Revenues generated by each reservation originated
in an area served by a general sales agent/international sales office and includes the agency
commission.

By accepting reservations from the GDS, Internet, travel agencies and other intermediaries,
you agree to participate in our Central Commission Payment Program and to reimburse us for any
fees or commissions we pay to intermediaries and retailers on your behalf. You may elect not to
receive reservations from either the GDS or Internet websites, other than the Chain’s website, by
giving us 60 days advance written notice. We will remove the Facility from participation in both
channels. However, you must pay all fees and commissions incurred for reservations booked
through the GDS or Internet before deactivation. You may reactivate the Facility’s listing through
such channels once by paying us a reactivation charge of $100.00, after which you may not
deactivate again during the Term of your License. Your participation in the GDS and Internet must
be for either both or neither distribution channel.

We also charge you an annual website maintenance fee of $36.00 to maintain the Facility’s
web pages on the Chain’s website. We may charge additional fees for creating or modifying the
Facility’s web pages or performing other services related to Internet marketing.

If we suspend Central Reservation System service because of your default under this
Agreement, then you must pay us a Service Interruption Fee of $200 before we restore service.

You must (i) make available through the Central Reservation System and the Chain website
room rates equivalent to those offered to the general public by third parties that you authorize to
offer and sell reservations for the Facility’s guest rooms and (ii) participate in the Chain’s Best
Available Rate Guarantee Program according to its published requirements. Beginning May 1,
2004 if a guest finds a lower publicly available rate on the Internet than the “Best Available Rate”
you offer through the Chain website or the Central Reservation System for the same date and
accommodations and the guest meets all Program requirements, you must provide the first room
night to the guest without a room charge. You may collect standard incidental fees, charges and
taxes. We will also charge you a Processing Fee of $25 to reimburse us for our administrative
charges of handling the complaint.

We will offer you the opportunity to participate in certain Internet distribution channel
marketing and reservation activity with third parties including our affiliates. Under one type of
arrangement, you will offer rooms for sale through an electronic distribution channel on which
you will be paid a net, non-commissionable rate if and when the rooms are sold by the
distribution channel at its marked-up rate. For providing and managing this activity we may
receive commissions from the Internet distribution channels based upon the mark-up or room
rates that they receive for renting your rooms. The net rate you receive, not the mark-up retained

‘by the channel, should be included in Gross Room Revenues. We will allocate these
commissions to Royalties and System Assessment Fees in equal proportions. Under another type

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of arrangement, you will offer rooms for sale through an electronic distribution channel at your
best commissionable rate. The distribution channel will not mark-up these rates but will charge
you a commission of up to 15% on consumed room nights.

We or an affiliate may charge you a sales agent commission of up to 10% of the Gross
Room Revenues generated from consumed reservations booked by members of certain affinity
groups and organizations at your Facility if you participate in our Member Benefits sales program.
We or our affiliate usually pays a portion of this commission to the affinity group or organization in
exchange for promoting the Member Benefits program to its members.

D. Guest Services Assessment

We will contact you if we receive any guest complaint about you or the Facility, and you
will be responsible for resolving the complaint to the satisfaction of the guest. If you do not
respond to any complaint within 7 business days after we refer it to you and the guest contacts us
again to seek resolution, we will charge you a “Guest Services Assessment” of $75.00, plus the
costs we incur to settle the matter with the guest. In addition, if the number of guest complaints
per 1,000 occupied roomnights about you or the Facility in a calendar year exceed the “Annual
Facility Allotment” we establish, we will charge you a “Processing Fee” of $25.00 for each
additional complaint we receive during that year, regardless of whether you are able to resolve it
to the guest’s satisfaction. We may change or eliminate the Guest Services Assessment, the
Processing Fee, the Annual Facility Allotment and/or the time for responding to or resolving a
guest complaint on a Chain-wide basis at any time upon 30 days advance notice. The Guest
Services Assessment and the Processing Fee are intended only to reimburse us for the costs of
complaint handling and are not intended as penalties or liquidated damages. All guest
complaints remain subject to indemnification under this Agreement.

We may increase or adjust any of the Additional Fees to cover increases in their allocated
costs and may add new fees and charges for new services and programs at any time upon not less
than 60 days notice.

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SUPER 8 MOTELS, INC.

Franchise Administration

January 17, 2006

Soham Investments LLC
1916 West 3% Street
Winslow, AZ 86047

RE: WINSLOW, AZ — SUPER 8 ~ SITE #3118 - LETTER AMENDMENT
Dear Mr, Kothari: . . . |

This letter is to amend the date of execution of the Franchise Agreement for the Super 8
Motel located at 1916 West 3 Street, Winslow, Arizona, site #3118. The Agreement was |
dated and returned to you with a date of May 6, 2005, this letter shall serve to amend the;
date to June 16, 2005.
Please sign below as confirmation of acknow ledgement and acceptance to the above terms ard
conditions.

Sincerely,

Gtr Vat ae oe :

Jeanine Mahan
Manager of Rélicensing

The terms and conditions of this letter are hereby agreed to and accepted by the Licensee effet tive

as of jieits 6 2006.

By: (> 3 !
iy @ Vratiadt

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1 Sylvan Way « Parsippany, New Jersey 07054 + 1-666-582-9104 © Fox 973-496-5345

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EXHIBIT C
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GUARANTY

To induce Super 8 Motels, Inc., its successors and assigns (“you”) to sign the Franchise
Agreement (the “Agreement”) with the party named as the “Franchisee,” to which this Guaranty is
attached, the undersigned, jointly and severally (“we, “our” or “us”), irrevocably and
unconditionally (1) warrant to you that Franchisee’ s representations and warranties in the Agreement
are true and correct as stated, and (ii) guaranty that Franchisee’s obligations under the Agreement,
including any amendments, will be punctually paid and performed.

Upon default by Franchisee and notice from you we will immediately make each payment
and perform or cause Franchisee to perform, each unpaid or unperformed obligation of Franchisee
under the Agreement. Without affecting our obligations under this Guaranty, you may without
notice to us extend, modify or release any indebtedness or obligation of Franchisee, or settle, adjust
or compromise any claims against Franchisee. We waive notice of amendment of the Agreement.
We acknowledge that Section 17 of the Agreement, including Remedies, Venue and Dispute

Resolution, and WAIVER OF JURY TRIAL, applies to this Guaranty.

Upon the death of an individual guarantor, the estate of the guarantor will be bound by this
Guaranty for obligations of Franchisee to you existing at the time of death, and the obligations of all

other guarantors will continue in full force and effect.

This Guaranty may be executed in one or more counterparts, each of which shall be
deemed an original but all of which together shall constitute one in the same instrument.

IN WITNESS WHEREOF, each of us has signed this Guaranty effective as of the date of
the Agreement.

WITNESSES: GUARANTORS:

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_WYNDHAM -

HOTEL GROUP
Compliance Department
22 Sylvan Way
Parsippany, New Jersey 07054
Ph (973) 753-6000 @ fax (800) 880-9445
www.wyndbamworldwide.com

May 3, 2012

VIA 2 DAY DELIVERY METHOD

Mr. Pravin Kothari
Soham Investments, LLC
1916 West 3 St.
Winslow, AZ 86047

Re: NOTICE OF TERMINATION of License for Super 8® System Unit #03118-80713-04 located
in Winslow, AZ (“Facility”)

Dear Mr. Kothari:

Super 8 Worldwide, Inc., successor in interest to Super 8 Motels, Inc. (“we”, “our” or’ “us’”) received a
Warranty Deed advising us that Soham Investments, LLC (“you” or “your’) transferred possession of
the Facility on January 19, 2012 (the “Termination Date”) causing the termination of the Franchise
Agreement dated June 16, 2005, as amended (the “Agreement”). Accordingly, your license to operate
the Facility in the Super 8 System terminated on the Termination Date.

We regret that the Facility will no longer operate as a Super 8 facility and must now require you to fulfill
the post-termination obligations set forth in the Agreement, including the payment of Liquidated

Damages.

As a result of the premature termination of the Agreement, you are required to pay us Liquidated
Damages in the amount of $92,000.00 as provided in Section 12.1 of the Agreement. You must also pay
Damages of $3,516.00 for termination of the Addendum to the Agreement for Satellite Connectivity
Services (the "Addendum"), plus any additional fees and charges as per Schedule 3 of the Addendum.
The Addendum has also terminated on the Termination Date. In addition, you apparently failed to de-
identify the Facility before relinquishing control of the Facility. If we must file suit to force de-
identification of the Facility, we reserve the right to include a claim in that action against you for
contributory infringement and dilution under the applicable federal trademark statutes, Please consider this
letter to be a notice and demand for payment under any Guaranty of the Agreement, directed to all of your

Guarantors.

_WYNDHAM

HOTEL GROUP

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Mr. Pravin Kothari
May 3, 2012
Page Two

We hope, of course, to resolve this matter amicably. If you have any questions concerning the contents
of this letter, please feel free to contact Charlene Martin, Senior Manager of Settlements, at (973) 753-

7602.

Sincerel

Compliansé & Government Relations

Enclosure

cc: Hitesh T. Chokshi (Guarantor)
John Valletta
~ Larry Geer
Charlene Martin

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UPS CampusShip: Shipment Receipt Page 1 of 1
Shipment Receipt
Transaction Date: 03 May 2012 Tracking Number: 1Z2208E370299283214
Address Information
Ship To: Ship From: Return Address: .
Soham Investments, LLC Wyndham Worldwide - 22 Sylvan Wyndham Worldwide - 22 Sylvan
Pravin Kathari Kanyelle Barrino Kanyelle Barrino
1916 West 3rd St. 22 Sylvan Way 22 Sylvan Way
WINSLOW AZ 860472112 Parsippany NJ 07054 Parsippany NJ 07054
, Telephone:973-753-7787 Telephone:$73-753-7787
Package Information
Weight Dimensions / Packaging Declared Value Reference Numbers
1. Letter UPS Letter Reference # 1 - 006-1696
[3] UPS Shipping Service and Shipping Options
Service: UPS 2nd Day Air
Guaranteed By: End of Day Monday, May 7,
2012
Shipping Fees Subtotal: 22.52 USD
Transportation 17.75 USD
Fuel Surcharge 2.77 USB
Delivery Area Surcharge- Extended
Package 1 2.00 USD
Payment Information
Bill Shipping Charges to: Shipper's Account 208E37
A discount has been applied to the Daily rates for this shipment
Total Charged: 22.52 USD
Negotiated Total: 7,87 USD

Note: Your invoice may vary from the displayed reference rates,

* For delivery and guarantee information, see the UPS Service Guide. To speak to a customer service representative, call 1-800-P/CK-UPS for domestic services

and 1-800-782-7892 for international services.

https://www.campusship.ups.com/cship/create?ActionOri

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UPS CampusShip: Shipment Receipt

Shipment Receipt

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Transaction Date: 03 May 2012 Tracking Number:

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@b%

Address Information

Return Address:
Wyndham Worldwide - 22
Kanyelle Barrino

22 Sylvan Way
Parsippany NJ 07054

Ship To:

Soham investments, LLC
Pravin Kothari

1722 Mitchell Ave., #105
TUSTIN CA 927806376

Ship From:

Wyndham Worldwide - 22 Sylvan
Kanyefle Barrino

22 Sylvan Way

Parsippany NJ 07054

Syivan

Residential Telephone:973-753-7787 Telephone :973-753-7787
Package Information
Weight Dimensions / Packaging Declared Vaiue Reference Numbers
1. Letter UPS Letter Reference # 1 - 006-1696

UPS Shipping Service and Shipping Options

Service: UPS 2nd Day Air

Guaranteed By: End of Day Monday, May 7,

2012

Shipping Fees Subtotal: 23.66 USD
Transportation 17.75 USD
Fuel Surcharge 2.91 USD
Residential Surcharge 3,00 USD

Payment Information

BIH Shipping Charges to: Shipper's Account 208E37

A discount has been applied to the Daily rates for this shipment

Total Charged:
Negotiated Total:

23.66 USD
7.28 USD.

Note: Your Invoice may vary from the displayed reference rates.

* For delivery and guarantee information, see the UPS Service Guide. To speak to a customer service representative, call 1-800-PICK-UPS for domestic services

and 1-800-782-7892 for international services.

https://www.campusship.ups.com/cship/create?ActionOriginPair=default___PrintWindowP... 5/3/2012

